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     17
     18
                               UNITED STATES DISTRICT COURT
     19
                              CENTRAL DISTRICT OF CALIFORNIA
     20
                                    WESTERN DIVISION
     21
        STEPHEN MERRITT, Individually and )      Case No. 2:23-cv-09217-MEMF-KS
     22 on Behalf of All Others Similarly    )
        Situated,                            )   CLASS ACTION
     23                                      )
                                 Plaintiff,  )   AMENDED CLASS ACTION
     24                                      )   COMPLAINT FOR VIOLATIONS OF
               vs.                           )   THE FEDERAL SECURITIES LAWS
     25                                      )   OF THE UNITED STATES AND THE
        BARCLAYS PLC, JAMES E.               )   UNITED KINGDOM
     26 STALEY, TUSHAR MORZARIA, C.S. )
        VENKATAKRISHNAN, and ANNA )
     27 CROSSNIGEL HIGGINS,                  )
                                             )
     28                          Defendants. )

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      1                                       ) DEMAND FOR JURY TRIALCLASS
                                                ACTION
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      1            Lead Plaintiff Stephen Merritt (“PlaintiffTeamsters Local 237 Additional
      2 Security Benefit Fund and Teamsters Local 237 Supplemental Fund for Housing
      3 Authority Employees (the “Teamsters Funds”) and plaintiff The Firemen’s
      4 Retirement System of St. Louis (“St. Louis Firemen”), individually and on behalf of
      5 all other personsothers similarly situated, by Plaintiff’s undersigned attorneys, for
      6 Plaintiff’s complaint against Defendants (defined below), alleges (collectively,
      7 “Plaintiffs”), allege the following based upon personal knowledge as to Plaintiff and
      8 Plaintiff’sPlaintiffs’ own acts, and information and belief as to all other matters,
      9 based upon, among other things, the investigation conducted by and through his
     10 attorneysof Plaintiffs’ counsel, which included, among other things, a review of the
     11 Defendants’ public documents, public regulatory filings, wire and press releases
     12 publishedreports by and regarding Barclays PLC (“Barclays” or the “Company”),
     13 and information readily obtainable on the Internet. Plaintiff believes that substantial
     14 securities analysts’ reports, media reports, press releases and other public statements
     15 issued by Barclays, regulatory decisions by the United Kingdom’s Financial
     16 Conduct Authority (“FCA”), public court dockets, and other publicly available
     17 information. Plaintiffs believe that, after a reasonable opportunity for discovery,
     18 substantial additional evidentiary support will exist for the allegations set forth
     19 herein after a reasonable opportunity for discovery.
     20                                     NATURE OF THE ACTION
     21 I.         INTRODUCTION
     22                       This is a securities class action on behalf of all persons or entities who:
     23 (i) purchased or otherwise acquired publicly Barclays American Depositary Receipts
     24 (“ADRs”) traded Barclays securities between on the New York Stock Exchange
     25 (“NYSE”) under the ticker symbol “BCS” from July 22, 2019 andthrough October
     26 12, 2023, inclusive (the “Class Period”). Plaintiff seeks to recover compensable
     27 damages caused by Defendant’s violations of the federal securities laws under the
     28 ”), seeking to pursue remedies under §§10(b) and 20(a) of the Securities Exchange
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      1 Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder by the
      2 U.S. Securities and Exchange Commission (“SEC”) (collectively, the “Exchange
      3 Act claims”) against Defendants; and (ii) purchased or otherwise acquired Barclays
      4 ordinary shares traded on the London Stock Exchange (“LSE”) under the ticker
      5 symbol “BARC” or continued to hold during the Class Period, seeking to pursue
      6 remedies under Section 90A and Schedule 10A of the U.K. Financial Services and
      7 Markets Act 2000 (“FSMA”) (the “FSMA claim”) against Barclays (the “Class,” as
      8 defined further below).1
      9                       This case arises from the material misrepresentations, omissions, and
     10 dishonest delay perpetrated by Barclays, its former CEO James (“Jes”) E. Staley
     11 (“Staley”), and the Chairman of Barclays Group (“Group”) Board of Directors
     12 (“Board”) Nigel Higgins (“Higgins”) (collectively, “Defendants”), relating to
     13 Staley’s close and lasting personal relationship with the convicted sex offender
     14 Jeffrey Epstein (“Epstein”) and Defendants’ communications to the U.K. financial
     15 regulatory body, the FCA, regarding that relationship.
     16                       During the Class Period, Defendants materially misrepresented the
     17 status and nature of Staley’s relationship with Epstein, and Defendants’ knowledge
     18 thereof, Staley’s purported transparency with Barclays’ Board about that
     19 relationship, and the nature of the FCA’s inquiry – even though Barclays had
     20 conducted an internal review of a cache of over 1,200 emails between Staley and
     21 Epstein that demonstrated that the two men shared a much closer, personal
     22 relationship than Defendants acknowledged to the FCA and the public. When the
     23 FCA privately informed Defendants of the outcome of its preliminary investigation,
     24 Staley left Barclays. Nevertheless, Barclays publicly continued to minimize the
     25 scope of the FCA’s investigation into Staley’s relationship with Epstein and voiced
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             Barclays ADRs and ordinary shares are collectively referred to as “Barclays
          Securities.”
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      1 its support for its former CEO. Then, documents and pleadings filed in civil
      2 litigation in the United States brought against Staley’s former employer, JPMorgan
      3 Chase & Co. (“JPMorgan”), in connection with Epstein’s banking activities while
      4 he allegedly trafficked young women for sex, further exposed correspondence
      5 between Staley and Epstein that publicly revealed their relationship was more than
      6 merely professional – contrary to the assurances Defendants made to investors in
      7 Barclays Securities.
      8                       Then, on October 12, 2023, the FCA issued a final decision finding
      9 Staley had “recklessly approved a letter sent by Barclays” to the FCA that “contained
     10 two misleading statements . . . about the nature of his relationship with Jeffrey
     11 Epstein and the point of their last contact.” When Defendants’ deception of the FCA
     12 and investors was revealed, the price of Barclays Securities again fell, and investors
     13 were further economically damaged.
     14 II.        BACKGROUND
     15                       Barclays is a universal bank that operates internationally, providing
     16 financial services in retail, commercial, investment, and wholesale banking, as well
     17 as wealth management. It is headquartered in London and is one of the largest banks
     18 in the United Kingdom.
     19                       Throughout the Class Period, Barclays claimed that “[f]or over 325
     20 years we have funded progress,” and that while pursuing its financial goals,
     21 maintained values of “Respect, Integrity, Service, Excellence and Stewardship.” As
     22 part of this pledge, Barclays’ communications to investors insisted that the Company
     23 took significant actions to monitor and address how its business impacts “non-
     24 financial” matters, including environmental matters, data protection, diversity and
     25 equality policies, human rights, and modern slavery.
     26                       Barclays’ governance is headed by its Board, which is responsible for
     27 “setting the strategic direction and risk appetite of the Group and is the ultimate
     28 decision-making body for matters of Group-wide strategic, financial, regulatory or
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      1 reputational significance.”           It manages its oversight functions through several
      2 committees – namely, the Executive Committee, which includes the CEO, the Audit
      3 Committee, the Nominations Committee, the Risk Committee, and the
      4 Remuneration Committee. In 2019, Barclays dissolved its Reputation Committee,
      5 explaining that it “[r]ecognis[ed] the importance of our culture, reputation and the
      6 environment to the Board and to all our stakeholders,” and therefore transferred
      7 “primary oversight for these key matters . . . to the Board.”
      8                       While the Board provides oversight to Barclays’ strategies, the
      9 execution of those strategies and day-to-day management of the Company is headed
     10 by the CEO, who is supported in that role by the Executive Committee, known
     11 within Barclays as “ExCo.” In addition to the CEO, the ExCo includes the Chief
     12 Financial Officer, other executive officers, and various heads of divisions and
     13 departments within the Company.
     14                       Barclays describes the division of responsibilities within the Company
     15 as the Non-Executive Directors being charged with “provid[ing] effective oversight
     16 and scrutiny, strategic guidance and constructive challenge, while holding the
     17 Executive Directors to account against their agreed performance objectives. The
     18 Non-Executive Directors, led by the Nominations Committee, have primary
     19 responsibility for appointment and removal of the Executive Directors.”
     20                       Higgins became the Board’s Chairman effective May 2, 2019. As
     21 Group Chairman, Higgins was, among other duties, “responsible for”: “leading the
     22 Board and its overall effectiveness”; “demonstrating objective judgement”;
     23 “promoting a culture of openness and constructive challenge and debate between all
     24 Directors”; and “ensuring Directors receive accurate, clear and timely information.”
     25 He also served on the Board Nominations Committee throughout the Class Period.
     26 III.       OVERVIEW
     27                       Staley began his role as Barclays’ CEO and an Executive Director on
     28 its Board on December 1, 2015. His tenure came as Barclays sought to revive its
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      1 reputation in the wake of a string of scandals in which Barclays was accused of
      2 money laundering, tax avoidance, rate-fixing Libor, and engaging in manipulative
      3 trading in its unregulated “dark pool” trading system. To draw investors back to the
      4 bank, Staley’s mandate was to grow shareholder value and strengthen Barclays’
      5 investment banking activities.
      6                       Staley was largely successful in shoring up Barclays’ investment bank.
      7 By May 2019, Staley had beat back an activist investor who had sought to shrink the
      8 investment banking business at Barclays. By year-end 2019, Staley’s investment
      9 banking strategy was paying off with a stronger investment bank returning higher
     10 profits for Barclays.
     11                       But in July 2019, Epstein, a long-time friend and former client of
     12 Staley’s, was arrested on federal charges for the sex trafficking of teenage girls in
     13 Florida and New York.
     14                       In the wake of Epstein’s arrest, media attention turned to the business
     15 associates and friends of Epstein, who was a well-connected financier, in addition to
     16 being a convicted sex offender and an accused sex trafficker. On July 22, 2019, The
     17 New York Times published an article titled “Jeffrey Epstein’s Deep Ties to Top Wall
     18 Street Figures” that described how Epstein and Staley first met 20 years before when
     19 Staley was running JPMorgan’s private bank where Epstein was a client.
     20                       According to the article, Staley sought “to maintain his relationship
     21 with Mr. Epstein” because Epstein referred rich individuals to Staley, who “over the
     22 next decade converted dozens of those referrals into clients of JPMorgan’s private
     23 bank.” However, the relationship did not remain purely professional for long as the
     24 two “soon became friends.” Staley even visited Epstein “at his Palm Beach office,
     25 where [Epstein] had been permitted to serve some of his 13-month sentence in 2008
     26 and 2009” after being convicted for soliciting prostitution of a minor.
     27                       In response to the facts reported in The New York Times, Defendants
     28 sought to appease nervous investors by weakening any connection between its CEO
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    1 and Epstein. A Barclays spokesperson was quoted in The New York Times article
    2 stating: “‘Mr. Staley has never engaged or paid fees to Mr. Epstein to advise him, or
    3 to provide professional services, either in his various roles at JPMorgan, or
    4 personally . . . .’”
    5                       By August 2019, further press reports had noted the past connections
    6 between Staley and Epstein. For example, a Bloomberg article reported that when
    7 Staley was under consideration to be Barclays’ next CEO, he had “cut ties to
    8 Epstein, according to a person with knowledge of the situation,” within months of
    9 Staley sailing to Epstein’s island in the U.S. Virgin Islands. A Wall Street Journal
  10 piece cited someone close to Staley in reporting he had not had contact with Epstein
  11 in years.
  12                        On August 10, 2019, Epstein committed suicide.
  13                        On August 15, 2019, the U.K.’s FCA, a regulatory body charged with
  14 regulating financial services firms and financial markets, contacted Higgins by
  15 phone to request in writing how the Board “‘had satisfied themselves there was no
  16 impropriety to the relationship’” between Staley and Epstein. Higgins told Staley
  17 about the FCA’s request and suggested that Bob Hoyt, Barclays’ General Counsel
  18 from 2013 to 2020, draft the response. Staley provided information to be included
  19 in the written response and provided revisions to the letter itself. Higgins also made
  20 revisions to the letter and approved its language.
  21                        On October 8, 2019, Barclays sent to the FCA the requested letter in
  22 which Barclays affirmed to the FCA that Staley had told them he did not have a close
  23 relationship with Epstein, that Staley had not seen anything that would have
  24 suggested the alleged misconduct by Epstein, and that Staley’s last contact with
  25 Epstein was “‘well before he joined Barclays in 2015.’”
  26                        Meanwhile, U.S. investigators, who had obtained a cache of emails
  27 between Epstein and Staley while investigating Epstein’s activities, sent the cache
  28 to the FCA a few weeks after the FCA received Barclays’ letter. In early December
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    1 2019, U.K. regulators summoned Higgins to explain why the emails appeared to
    2 contradict Barclays’ October 8, 2019 letter to the FCA. Barclays engaged a law firm
    3 to assist in the review of the 1,200 email cache and conduct interviews, after which
    4 the law firm provided the Board a report on its findings. Higgins later privately
    5 admitted that the emails “ma[de] for uncomfortable reading.”
    6                       On February 13, 2020, Barclays disclosed that the FCA was conducting
    7 a regulatory investigation into Staley’s relationship with Epstein. Despite having
    8 reviewed the report and appended emails, as well as having access to the full cache
    9 of emails, the Board resolved to stand by Staley, stating in Barclays’ 2019 Annual
  10 Report and a press release issued the same day that:
  11             Mr. Staley has been sufficiently transparent with the Company as
  12             regards the nature and extent of his relationship with Mr. Epstein.
  13             Accordingly, Mr. Staley retains the full confidence of the Board, and
  14             is being unanimously recommended for re-election at the 2020 AGM
  15             [Annual General Meeting].
  16                        The same day, during Barclays’ earnings call with analysts and
  17 interviews with the press, Staley likewise affirmed that he had had “a long-standing
  18 professional relationship with Jeffrey Epstein,” that the Board had conducted its
  19 own review of what he had told Barclays about that relationship, and that the Board
  20 “concluded indeed that I have been transparent and open with the bank.”
  21                        As a result of these statements, investors remained unaware that
  22 Barclays had already conducted an internal review of the more than 1,200 emails
  23 and those communications had provided persuasive evidence that Staley’s
  24 relationship with Epstein was far more than professional but instead, a close,
  25 personal one in which Staley considered Epstein “family.”
  26                        As the FCA’s investigation continued, Defendants publicly maintained
  27 that Staley only had a professional relationship with Epstein, that Staley was
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    1 unaware of Epstein’s alleged crimes, and that Defendants had been forthright with
    2 the FCA in describing Staley’s relationship with the FCA.
    3                       On October 29, 2021, the FCA privately informed Staley and Barclays’
    4 Board of its preliminary findings regarding Staley’s characterization of his
    5 relationship with Epstein.
    6                       On November 1, 2021, Barclays announced that in light of the
    7 preliminary findings, Staley was stepping down immediately as CEO of Barclays.
    8 Though announcing the preliminary findings and Staley’s departure, Defendants
    9 continued to minimize the intimacy of Staley’s relationship with Epstein and
  10 publicly supported Staley, despite knowledge of the men’s communications. Thus,
  11 Barclays stated in its November 1, 2021 announcement: “It should be noted that the
  12 investigation makes no findings that Mr Staley saw, or was aware of, any of Mr
  13 Epstein’s alleged crimes, which was the central question underpinning Barclays’
  14 support for Mr Staley following the arrest of Mr Epstein in the summer of 2019.” It
  15 further emphasized that Staley had run Barclays “successfully.”
  16                        On February 15, 2023, portions of a complaint filed in Government of
  17 the United States Virgin Islands v. JPMorgan Chase Bank, N.A., No. 1:22-cv-10904
  18 (S.D.N.Y.) (“USVI Litigation”), were unredacted, revealing for the first time more
  19 complete excerpts of the emails between Staley and Epstein, including the exchange
  20 invoking references to Snow White and Beauty and the Beast, and emails expressing
  21 pronouncements of “profound” friendship. These were the same communications
  22 that Barclays reviewed before the Board issued the February 13, 2020 press release
  23 announcing Staley’s transparency and the Board’s unanimous support of Staley’s
  24 reappointment as CEO.
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    1                       Then, on October 12, 2023, the FCA announced in a Decision Notice
    2 (“FCA Decision”) the final conclusions of its investigation.2 The FCA found that
    3 Staley had acted “recklessly” when approving the October 8, 2019 letter sent by
    4 Barclays to the FCA, “which contained two misleading statements, about the nature
    5 of his relationship Jeffrey Epstein and the point of their last contact.” As a result of
    6 misleading the FCA and failing to act with integrity while CEO of Barclays, the FCA
    7 fined Staley £1.8 million and banned him from holding a senior management
    8 position in the financial services industry.
    9                       Upon the market learning this news, the price of Barclays ADRs and
  10 ordinary shares declined on heavy volume, dropping 4.99% and 3.12%, respectively,
  11 and caused investors to suffer significant economic losses.
  12 IV.         JURISDICTION AND VENUE
  13                        The claims asserted herein arise under and pursuant to Sections 10(b)
  14 and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5
  15 promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).
  16                        This Court has jurisdiction over the subject matter of this action
  17 pursuant to 28 U.S.C. § §§1331, 1332 and Section 1367, and §27 of the Exchange
  18 Act (15 U.S.C. §78aa).
  19                        Certain of the claims asserted herein arise under and pursuant to
  20 §§10(b) and 20(a) of the Exchange Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule
  21 10b-5 promulgated thereunder by the SEC (17 C.F.R. §240.10b-5). Jurisdiction over
  22 the Exchange Act claims is conferred by §27 of the Exchange Act, 15 U.S.C. §78aa.
  23                        With respect to the FSMA claim, this Court has diversity jurisdiction
  24 pursuant to 28 U.S.C. §1332(d)(2). This is a class action filed under Rule 23 of the
  25 Federal Rules of Civil Procedure. There are more than 100 members of the putative
  26
  27    2
           While the FCA Decision is dated May 30, 2023, it was first published on October
        12, 2023.
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    1 class. Plaintiffs are members of the putative class and citizens of the United States.
    2 Defendants Barclays and Higgins are citizens of the United Kingdom. At least one
    3 class member is a citizen of a different state than defendant Staley. The amount in
    4 controversy under the FSMA exceeds $5 million, exclusive of interest and costs.
    5                       The FSMA claim is also related to the Exchange Act claims in as much
    6 as it forms part of the same case or controversy. Subject matter jurisdiction over the
    7 FSMA claim is therefore also conferred by 28 U.S.C. §1367.
    8                       Barclays is subject to personal jurisdiction in this case. Barclays
    9 maintains investment banking offices in three California locations, including in this
  10 District at 10250 Constellation Boulevard, 7th Floor, Suite 750, Los Angeles,
  11 California 90067. As alleged in further detail below, Barclays made materially false
  12 and misleading statements and omissions, and failed to disclose information, which
  13 concealed the true nature of Staley’s relationship with Epstein, and Barclays’
  14 knowledge thereof, resulting in a fraud on investors in the United States and
  15 California.
  16                        In committing the fraudulent acts complained of herein, Barclays
  17 operated an integrated enterprise with its wholly owned subsidiaries, including those
  18 with operations in California, and controlled the internal affairs and operations of
  19 those subsidiaries such that they functioned as instrumentalities of their parent.
  20 Barclays files annual reports and other documents with the SEC.                      Moreover,
  21 Barclays trades in the U.S. securities markets, purposefully availing itself of the
  22 protections and privileges of the United States in its transactions of Barclays ADRs.
  23 Additionally, approximately 20% of Barclays ordinary shares are owned by
  24 individuals and institutions within the United States.
  25                        Barclays likewise avails itself of U.S. protections and privileges in the
  26 transactions undertaken by its investment banking and individual credit card and
  27 consumer banking activities based in the United States. As Staley stated in an
  28 interview in 2019, Barclays “set up a whole new legal structure to operate in the
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    1 United States a couple of years ago.” As a result, Barclays, when reporting its year-
    2 end financials for 2023, stated: “The US is our main market outside the UK.” For
    3 example, 31% of its total income in 2023, nearly 25% of its total income in 2022,
    4 and 32% of its total income in 2021 came from the United States, based on the
    5 location of the office where the transactions were recorded.
    6                       Individual Defendants Staley and Higgins are subject to personal
    7 jurisdiction in this District because they: (i) are or were control persons of Barclays;
    8 and (ii) each purposefully directed their activities as alleged herein toward the United
    9 States and this judicial district.
  10                        The FSMA claim arises out of a common nucleus of operative facts as
  11 the Exchange Act claims. Personal jurisdiction is therefore also conferred over the
  12 FSMA claims by the doctrine of pendent personal jurisdiction. Action Embroidery
  13 Corp. v. Atl. Embroidery Corp., 368 F.3d 1174, 1180-81 (9th Cir. 2004).
  14                        Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)
  15 and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as)(3), and §27 of the
  16 Exchange Act (15 U.S.C. §78aa), because Barclays maintains an office for its
  17 investment banking operations in this District and because the alleged misstatements
  18 entered and the subsequent damages took place in this judicial district.
  19                        The FSMA claim is closely related to the Exchange Act claims. Venue
  20 is therefore also proper in this District under the doctrine of pendent venue.
  21                        In connection with the acts, conduct, and other wrongs alleged in this
  22 complaint,herein.              Defendants, directly or indirectly, used the means and
  23 instrumentalities of interstate commerce, including, but not limited to, the United
  24 States mails, the Internet, interstate telephone communications, and the facilities of
  25 the national securities exchange.
  26 V.          PARTIES
  27                        On January 2, 2024, the Teamsters Local 237 Additional Security
  28 Benefit Fund and Teamsters Local 237 Supplemental Fund for Housing Authority
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    1 Employees was appointed Lead Plaintiff Stephen Merritt, as set forth in the
    2 accompanying certification, incorporated by reference herein, . ECF 31. The
    3 Teamster Funds purchased Barclays securitiesADRs at artificially inflated prices
    4 during the Class Period and was economically, as set forth in the previously filed
    5 Certifications (ECF 19-2) and incorporated herein, and was damaged thereby.
    6                       Plaintiff The Firemen’s Retirement System of St. Louis purchased
    7 Barclays ordinary shares at artificially inflated prices during the Class Period, as set
    8 forth in the attached certification, and was damaged thereby.
    9                       Defendant Barclays PLC is a British universal bank.
  10                        that provides consumer banking and credit card services, wealth
  11 management, and corporate and investment banking services.                        Barclays is
  12 incorporated in England and its head office is located at 1 Churchill Place, London,
  13 E14 5 HP, England. Barclays American Depositary Receipts (“ADRs” or “ADR”)
  14 trade on the New York Stock Exchange (“NYSE”) under the ticker symbol “BCS”..”
  15 Barclays maintains an address at 10250 Constellation Boulevard, 7th Floor, Ste. 750,
  16 Los Angeles, CA 90067.ordinary shares trade on the LSE under the ticker symbol
  17 “BARC.”
  18                        Defendant James E. “(“Jes””) E. Staley (“Staley”) served as the
  19 Company’s Group Chief Executive (“CEO”) and a director on Barclays’ Board from
  20 December 1, 2015 to October 31, 2021.
  21                         Prior   to   joining    Barclays,   Defendant   Staley   was   a   J.P.
  22 MorganJPMorgan employee.                       In 1999, he became head J.P. Morgan’s of
  23 JPMorgan’s Private Banking division, during which time he met Jeffrey Epstein. In
  24 2001, he was promoted to CEO of JP MorganJPMorgan Asset Management and ran
  25 that division until 2009. In 2013, he left J.P. MorganJPMorgan, and, on October 28,
  26 2015, it wasBarclays announced that he would become theits CEO of Barclays
  27 effective December 1, 2015. On November 1, 2021, Barclays announced that Staley
  28 would step down from his roles as CEO and Director of the Company. During the
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    1 Class Period, as alleged herein, Staley made false and misleading statements in
    2 public filings, interviews with the press, and during an earnings call on February 13,
    3 2020.
    4                       Defendant Tushar Morzaria (“Morzaria”) has served as a Company
    5 Group Finance Director since October 2013.
    6                       Defendant C.S. Venkatakrishnan (“Venkatakrishnan”) has served as
    7 the Company’s CEO since November 1, 2021.
    8                       Defendant Anna Cross (“Cross”) has served as a Company Group
    9 Finance Director since April 2022.
  10                        Defendant Nigel Higgins has served as the Company’s Group
  11 Chairman of the Board since May 2019. He also served on the Board Nominations
  12 Committee throughout the Class Period.                   According to Barclays, “[i]t is the
  13 responsibility of the Group Chairman to ensure that Board agendas are focused on
  14 key strategy, risk, performance and other value creation issues, and that members of
  15 the Board receive timely and high-quality information to enable them to make sound
  16 decisions and promote the success of Barclays PLC.” During the Class Period, as
  17 alleged herein, Higgins signed letters to shareholders incorporated in the Notices of
  18 Annual General Meeting for 2020 and 2023 that contained false and misleading
  19 statements.
  20                        Defendants Staley, Morzaria, Venkatakrishnan, and CrossHiggins are
  21 collectively referred to herein as the “Individual Defendants.”
  22                        Each of the Individual Defendants:
  23                        (a)   directly participated in the management of the Company;
  24 VI.         was CONTROL PERSONS
  25                        Staley was an officer and director while Higgins was a director of
  26 Barclays, a publicly held company whose ordinary shares traded on the LSE and
  27 whose ADRs traded on the NYSE. As officers and/or directors and controlling
  28 persons of a publicly held company whose securities are publicly traded and are
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    1 governed by the provisions of the federal securities laws and the securities laws of
    2 the United Kingdom, Staley and Higgins had a duty to promptly disseminate
    3 accurate and truthful information with respect to the Company’s performance,
    4 operations, financial statements, business, management, and present and future
    5 business prospects; not to make material misrepresentations with respect thereto or
    6 to omit material facts necessary to make the statements contained therein not
    7 misleading; and to correct any previously issued statements that had become
    8 materially misleading or untrue, so that the market price of Barclays Securities
    9 would be based upon truthful and accurate information. The Individual Defendants’
  10 misrepresentations and omissions during the Class Period violated these specific
  11 requirements and obligations.
  12                       The Individual Defendants, because of their positions of control and
  13 authority as officers and/or directors of the Company, were able to, and did, control
  14 the content of the various Annual Reports, SEC filings, press releases, and other
  15 public statements pertaining to the Company during the Class Period.                 Both
  16 Individual Defendants were provided with copies of the documents alleged herein
  17 to be misleading before or shortly after their issuance. Staley participated in
  18 interviews and a conference call with investors during which he made false and
  19 misleading statements, and/or had the ability and/or opportunity to prevent their
  20 issuance or cause them to be corrected. Accordingly, each Individual Defendant is
  21 responsible for the accuracy of the public statements detailed herein and is, therefore,
  22 primarily liable for the representations contained therein.
  23                       (b)   Both Individual Defendants acted and/or made the statements
  24 detailed herein in his capacity as an officer and/or director of Barclays. Both
  25 Individual Defendants were directly involved in the management and day-to-day
  26 operations of the Company at the highest levels;
  27                       (c)   was and were privy to confidential proprietary information
  28 concerning the Company and its strategy, business, and operations;
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    1                       (d)   was directly or indirectly. In addition, the Individual Defendants
    2 were involved in drafting, producing, reviewing, and/or disseminating the false and
    3 misleading statements and information alleged herein;
    4                       (e)   was directly or indirectly involved in the oversight or
    5 implementation of the Company’s internal controls;
    6                       (f)   was, were aware of, or recklessly disregarded the fact that, the
    7 false and misleading statement werestatements being issued concerningregarding
    8 the Company;, and/or
    9            (g)        approved or ratified these statements, in violation of the federal
  10 securities laws and the securities laws of the United Kingdom.
  11                        Barclays is liable for the acts of the Individual Defendants and its
  12 employees under the doctrine of respondeat superior and common law principles of
  13 agency because all of the wrongful acts complained of herein were carried out within
  14 the scope of their employment.
  15                        The scienter of the Individual Defendants and other employees and
  16 agents of the Company is similarly imputed to the Company under respondeat
  17 superior and agency principles.
  18                        Barclays and the Individual Defendants are collectively referred to
  19 herein as “Defendants.”
  20                                  SUBSTANTIVE ALLEGATIONS
  21                                              Background
  22                        This complaint relates to Jeffrey Epstein (“Epstein”). Epstein was an
  23 American financier and a sex offender. He worked at Bear Sterns before opening a
  24 consulting firm called Intercontinental Assets Group Inc. (“IAG”) in 1981. IAG
  25 focused on helping wealthy clients recover embezzled funds. Epstein then worked
  26 at Towers Financial Corporation, which was eventually exposed as a Ponzi scheme.
  27 He then founded J. Epstein & Company (which became Financial Trust Company),
  28 which managed assets for ultra-high net worth individuals.
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    1                       Through these roles, Epstein accrued significant wealth and became an
    2 acquaintance of wealthy and powerful figures, including Defendant Staley.
    3                       Epstein was also a sexual predator. He was the subject of multiple
    4 criminal prosecutions and civil lawsuits relating to his misconduct and extensive
    5 criminal activity. On July 8, 2019, prosecutors in the Southern District of New York
    6 charged Epstein with sex trafficking and conspiracy to commit sex trafficking of
    7 minors. On August 10, 2019, Epstein was found dead in his cell at the Metropolitan
    8 Correctional Center in New York City of an apparent suicide.
    9                       Epstein has received significant media attention and infamy due to the
  10 egregiousness of his crimes and his association with the wealthy and powerful. In
  11 addition to extensive media coverage of Epstein during his life and after his death,
  12 he was the subject of a Netflix documentary series called Jeffrey Epstein: Filthy
  13 Rich, which premiered in May 2020, and a Lifetime series called Surviving Jeffrey
  14 Epstein, which premiered in August 2020.
  15                             Materially False and Misleading Statements
  16 VII. Issued During the MATERIALLY FALSE AND MISLEADING
          STATEMENTS ISSUED DURING THE CLASS PERIOD
  17
          A.    Epstein’s Arrest Provokes Media Reports About Epstein’s
  18            Wall Street Connections, Including with Staley
  19                                        THE CLASS PERIOD
  20                        On begins on July 22, 20222019, when, in response to Epstein’s arrest
  21 on July 86, 2019, and indictment two days later, The New York Times ran an article
  22 entitledtitled “Jeffrey Epstein’s Deep Ties to Wall Street Figures.” (the “July 22
  23 NYT Article”). The July 22 NYT Article The article highlighted Epstein’s ties to
  24 various Wall Street figures, including Defendant Staley. Specifically, the July 22
  25 NYT Article it discussed how Defendant Staley had visited Epstein at his Palm
  26 Beach office, where Epstein spent timewas on a work release while serving ahis
  27 prison sentence. It stated, in pertinent part:
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    1            When Jeffrey Epstein was serving time in Florida for soliciting
                 prostitution fromof a minor, he got a surprising visitor: James E.
    2            Staley, a top JPMorgan Chase executive and one of the highest-
                 ranking figures on Wall Street.
    3
                 Mr. Staley . The article reported that Staley “had good reason to
    4            maintain his relationship with Mr. Epstein, who received him at his
                 Palm Beach office, where he had been permitted to serve some of his
    5            13-month sentence in 2008 and 2009. Over the years, Mr. Epstein had
                 funneled dozens of wealthy clients to Mr. Staley and his bank.
    6
                                             *      *      *
    7
                 Epstein,” because in the “Mr. Epstein nonetheless managed to affix
    8            himself to a handful of prominent Wall Street veterans, including Mr.
                 Staley, who is now chief executive of the British bank Barclays.
    9
                                             *      *      *
  10
                 In the clubby world of Wall Street, one connection often begets another,
  11             and Mr. Epstein around 1999 connected with Mr. Staley — one of Mr.
                 Black’s good friends. Mr.,” Epstein’s referrals of his rich contacts to
  12             Staley at the time was running JPMorgan’s private bank, which caters
                 to wealthy individuals and where Mr. Epstein was a client.
  13
                 Mr. Epstein and Mr. Staley soon became friends, and Mr. Epstein
  14             began referring rich individuals to Mr. Staley, who over the next
                 decade converted dozens of those referrals into clients of JPMorgan’s
  15             private bank, according to a person with knowledge of the
                 relationship.
  16
                 One introduction proved especially valuable: Mr. Epstein connected
  17             Mr. Staley with Mr. Dubin, who at the time was running Highbridge,
                 one of the country’s largest hedge funds, according to people familiar
  18             with the relationship. Mr. Epstein knew Mr. Dubin because he had once
                 dated Eva Andersson, before she married Mr. Dubin.
  19
                 A few years later, in 2004, Mr. Staley orchestrated a deal in which
  20             JPMorgan bought a majority stake in Highbridge. Mr. Dubin, and the
                 Highbridge co- founder Henry Swieca, became JPMorgan employees.
  21             It is not clear whether or how Mr. Epstein was compensated for helping
                 broker that deal.
  22
                                             *      *      *
  23
                 The Highbridge deal helped elevate JPMorgan’s asset-management
  24             division— which at the time was under Mr. Staley’s leadership — into
                 a major player in the fast-growing hedge fund world, and it cemented
  25             Mr. Staley’s role in the bank as an up-and-comer. (Mr. Swieca left the
                 bank in 2009, and Mr. Dubin left in 2013.)
  26
                                             *      *      *
  27
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    1                       Mr. Staley and for JPMorgan, too, stuck with Mr. Epstein for years
    2 after his guilty plea — a period in which, according to prosecutors, Mr. Epstein
    3 engaged in an extensive sex-trafficking operation. It wasn’t until around 2013, when
    4 Mr. Staley left JPMorgan, that Mr. Epstein ceased being a JPMorgan client.
    5            (Emphasis added).
    6                       In direct response to the July 22 NYT Article, a Barclays spokesperson,
    7 Stephen Doherty, a Barclays spokesman was quoted in the July 22 NYT Article as
    8 saying , 2019 The New York Times article stating:
    9                             “Mr. Staley has never engaged or paid fees to Mr.
  10             Epstein to advise him, or to provide professional services, either in his
  11             various roles at JPMorgan, or personally[.]” (Emphasis added).
  12                        ThisOther news outlets similarly reported that Staley and Epstein’s
  13 relationship had petered out. On July 25, 2019, The Wall Street Journal published
  14 an article titled “Jeffrey Epstein Burrowed Into the Lives of the Rich and Made a
  15 Fortune.” The article reported that “[a]ccording to a person close to Mr. Staley, now
  16 CEO of Barclays PLC, he hasn’t had contact with Mr. Epstein in several years.”
  17                        On August 6, 2019, Bloomberg published an article titled “Epstein’s
  18 Endgame: One Last Shot to Stay in Wall Street’s Favor,” reporting that within
  19 months of Staley sailing his sailboat to Epstein’s island, Little St. James, “Staley cut
  20 ties to Epstein, according to a person with knowledge of the situation.” Bloomberg
  21 explained that once Staley “was in the running for the top job at Barclays, a position
  22 that required interviews and approvals by U.K. regulators,” “[t]he wisdom of
  23 breaking from Epstein became apparent” since “the British press reported on their
  24 relationship.” Per Bloomberg, “[w]hile there’s no suggestion of any wrongdoing on
  25 the part of [Epstein’s] Wall Street connections,” which included Staley, “it all no
  26 doubt makes uncomfortable reading for them.”
  27                        The statement in ¶53 concerning Staley’s payment of fees for
  28 “professional services . . . or personally” was materially false and misleading when
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    1 made because, Defendants knew or deliberately disregarded and failed to disclose
    2 the following facts:
    3                       (a)   The relationship between Staley and Epstein was close and
    4 personal enough that the offer or solicitation of business advice did not require the
    5 payment of fees or a formal engagement. Moreover, although Staley may not have
    6 formally engaged Epstein to provide advice or professional services, Staley had,
    7 within the scope of his business relations and friendship with Epstein, sought
    8 Epstein’s personal and professional guidance and assistance. Not only did Epstein
    9 provide referrals of wealthy and powerful individuals to Staley as potential clients
  10 for JPMorgan’s private bank, but Staley sought Epstein’s advice on a variety of
  11 aspects relating to Staley’s work, including Staley’s pay, his speeches, internal
  12 JPMorgan business strategy, and his approach toward pursuing the CEO position at
  13 Barclays.
  14                        (b)   In exchange for Epstein’s business counsel and contacts, Staley
  15 provided Epstein financial and professional protection allowing for Epstein to
  16 continue his bank dealings with JPMorgan, even though JPMorgan executives had
  17 identified Epstein as “a known child sleaze” and protested that “[h]e should not be a
  18 client.” Epstein remained a JPMorgan client “due to Jes’s personal relationship” and
  19 that banking relationship ended shortly after Staley left JPMorgan.
  20                        (c)   As detailed in the FCA Decision, between January 2013 and July
  21 2015, Staley and Epstein “exchang[ed] almost 600 emails during that period,
  22 including . . . emails from Mr Staley referring to the strength of their friendship.” In
  23 2015, the same year that Staley was appointed Barclays’ CEO, Staley twice visited
  24 Epstein’s properties in the U.S. Virgin Islands – once in January 2015 when Staley
  25 asked Epstein for “dock space” and moored his boat in Epstein’s marina, and once
  26 in April 2015 while it may have been literally true that Mr. Staley on vacation and
  27 Staley anchored his boat in front of Epstein’s island. Following his visit, Staley
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    1 wrote Epstein: “Your place is crazy, and special. It has a warmth and silliness that
    2 makes it yours. I count u as a deep friend.”
    3                       (d)   The Company’s false assurance in ¶53 and its focus on a formal
    4 engagement or payment between Staley and Epstein omits an accurate description
    5 of their continued close business dealings even after Staley left JPMorgan and
    6 Epstein was no longer Staley’s client. In fact, Staley and Epstein “continued to
    7 network and discuss potential business opportunities” after Staley’s 2013 departure
    8 from JPMorgan until at least July 2015. For example, as the FCA Decision later
    9 found, Staley and Epstein “discussed arrangements for meetings between Mr Staley
  10 and certain prominent public figures and business figures in March 2013, April 2013,
  11 September 2013 and May 2014.” The two men also discussed starting up a financial
  12 services firm together in New York in December 2013.
  13                        (e)   Epstein assisted and provided personal and strategic advice to
  14 Staley to help him secure his appointment as Barclays’ CEO. Staley later informed
  15 the FCA that while Epstein did not have a “‘formal or informal advisory role’”
  16 relating to the CEO appointment, he discussed the matter with Epstein because he
  17 “had previously discussed with Mr Epstein matters relating to his career and wanted
  18 to hear Mr Epstein’s ‘thoughts’ on the matter and because he ‘trusted him to be
  19 discreet.’” According to the FCA Decision, between July 2015 and October 2015,
  20 Staley and Epstein emailed and discussed on the phone the approach Barclays made
  21 to recruit Staley as CEO. For example:
  22                              (i)     On July 11, 2015, Staley emailed Epstein in an email titled
  23 “B” stating: “A member of the board just reached out.”
  24                              (ii)    On July 24, 2015, Epstein emailed Staley: “[B]etter if you
  25 not email me. phone only.”
  26                              (iii)   On October 4, 2015, Staley wrote Epstein in an email titled
  27 “Friendship,” stating: “You never engaged Mr. Epstein in a business deal,wavered
  28
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    1 in our friendship these last three years. That means a lot too [sic] me. . . . Cross your
    2 toes!!!” Epstein responded: “[M]ore than 10 years.”
    3                             (iv)    On October 8, 2015, Staley wrote Epstein: “‘Nominating
    4 com[mittee] approved. Friday, full board votes. I should have the contract by the
    5 weekend. We’re very close.’” The FCA determined that Staley understood this
    6 information was not in the public domain and was “‘very confidential.’”
    7                       (f)   The statement in ¶53, which bolstered other media outlets’
    8 reporting that Staley and Epstein had cut ties, is consistent with a strategy
    9 Defendants previously employed. As early as 2015, the Company knew it faced a
  10 public relations and reputational problem with Staley’s appointment as CEO because
  11 of his relationship with Epstein. Rather than address the problem directly and
  12 acknowledge the depth and closeness of Staley and Epstein’s relationship, the
  13 Company chose to affirmatively downplay the relationship, including by shifting the
  14 quality of the relationship to one that was purely professional. The FCA Decision
  15 later noted Defendants’ tactics to downplay the relationship between Staley and
  16 Epstein upon Staley’s appointment and create a misleading perception of distance
  17 between the men in the press. For example:
  18                              (i)     Staley wrote Epstein on October 17, 2015: “‘Ok. I’m
  19 going to play is [sic] simple. I’ve known you as a client.’”
  20                              (ii)    After one newspaper contacted Barclays to explain that it
  21 planned to print an article stating that Epstein had sought to influence the selection
  22 of Staley as CEO in both 2012 and 2015, a Barclays senior executive wrote Staley
  23 on October 24, 2015 that “they needed to keep the article ‘historical and flimsy.’”
  24                              (iii)   As subsequent articles were published, Barclays hired a
  25 law firm to assist in its media response. The FCA found that the firm advised that
  26 Barclays “ought to ‘. . . be as strong as we possibly can be in dispelling the
  27 friendship myth. If there is any more information that we can deploy to demonstrate
  28 distance between them it would be helpful . . . .’”
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    1                             (iv)   Prior to another article’s publication on November 1,
    2 2015, the Barclays’ Corporate Communications team responded to a journalist’s
    3 inquiry, stating that “‘neither Barclays nor Mr Staley feel the need to respond to your
    4 two questions given that there is no obligation to distance ourselves from someone
    5 with whom neither party has anything resembling a close personal association.’”
    6 The FCA later concluded that this statement was “based on what Mr Staley had
    7 previously told a Barclays senior executive.”
    8                       Following the July 22, 2019 misrepresentations and omissions alleged
    9 in ¶53, Barclays Securities traded at artificially inflated prices.
  10             B.         Bank Regulators Launch Investigation into Staley’s
                            Relationship with Epstein and the Suitability of His
  11                        Leadership
  12                        On August 10, 2019, Epstein committed suicide in his jail cell. With
  13 media attention on Staley and Epstein reigniting, the FCA, as the regulator charged
  14 with protecting the U.K. financial markets’ integrity, took note.
  15                        The FCA is an independent non-governmental body, given regulatory
  16 powers under FSMA. The FCA is responsible for the regulation of organized
  17 financial markets, including “recognised investment exchanges,” which, in turn,
  18 includes the LSE. The FCA’s “single strategic objective” is to ensure that the
  19 markets for financial services function well. It seeks to achieve this goal, in part, by
  20 supervising trading platforms, as well as “protecting and enhancing the integrity of
  21 the UK financial system.” Functionally, the FCA regulates through rulemaking and
  22 more targeted supervision responsibilities. Among the rules administered by the
  23 FCA are individual conduct rules and senior manager conduct rules.
  24                        On August 15, 2019, an executive from the FCA called Higgins asking
  25 that Barclays “explain in writing what it had done to satisfy itself that there was no
  26 impropriety with respect to the relationship between Mr Staley and Mr Epstein.”
  27 The FCA made the request for a written explanation “in the light of recent press
  28 reports regarding [Staley and Epstein’s] relationship, which called into question
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    1 Barclays’ CEO’s judgement [sic] and potentially his fitness and propriety.” As the
    2 FCA would later explain in the FCA Decision published in October 2023, the FCA’s
    3 August 2019 inquiry was to seek “assurance that Barclays had discharged its
    4 regulatory obligations to ensure it understood and had properly managed the risks to
    5 which it was exposed.”
    6                       Higgins informed Staley of the FCA’s request during a meeting on or
    7 around August 23, 2019. Higgins told Staley that he should work with Barclays
    8 General Counsel Bob Hoyt to formulate a response. To draft the response, Staley
    9 provided information in discussions with Higgins, Hoyt, a second Board member,
  10 and two other senior executives from Barclays. Staley reviewed and made revisions
  11 to the letter response. Higgins also reviewed and approved the letter. Barclays and
  12 Staley agreed that the response to the FCA should be from Barclays rather than from
  13 Staley.
  14                        On October 8, 2019, Barclays sent the requested letter to the FCA, in
  15 which Barclays stated:
  16                        “I am writing to close the loop on your request for assurance that
  17             we have informed ourselves and are comfortable in regard to any
  18             association of [Mr Staley] or Barclays with [Mr Epstein]. I can now
  19             report that [Board Member B], [Hoyt] and [Higgins] have had separate
  20             conversations with [Mr Staley] where he has described his interactions
  21             with Mr Epstein. [Mr Staley] has confirmed to us that he did not have
  22             a close relationship with Mr Epstein, and he is resolute that at no time
  23             did he see anything that would have suggested or revealed any aspect
  24             of the conduct that has been the subject of recent allegations. [Mr
  25             Staley’s] last contact with Mr Epstein was well before he joined
  26             Barclays in 2015.
  27
  28
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    1                        Separately, Barclays’ financial Crime team has conducted a
    2            thorough review of our records, which did not reveal any client or
    3            customer relationship with Mr Epstein.
    4                        In sum, neither our discussions with [Mr Staley] nor our review
    5            of the bank’s records have revealed any cause to suspect that Barclays
    6            or [Mr Staley] have played any role in the activities of Mr Epstein that
    7            have been under investigation.
    8                        I trust this addresses your questions.”3
    9                        The FCA later confirmed that the wording of the letter ultimately sent
  10 was identical to a draft version reviewed by Staley two days earlier, except for a
  11 minor change.4
  12                         A few weeks later, U.S. investigators of Epstein’s activities turned over
  13 to the FCA a cache of documents containing around 1,200 emails between Staley
  14 and Epstein. After reviewing these emails, the FCA began an inquiry into whether
  15 in his capacity as a J.P. Morgan employee or personally, it gave the impression that
  16 Barclays               was   denying    that   Staley   had   a    personal   relationship   with
  17 EpsteinDefendants had properly characterized Staley and Epstein’s relationship in
  18 the October 8, 2019 letter to the FCA.
  19                         Barclays first learned of the cache in December 2019, when the
  20 Governor of the Bank of England at the time, Mark Carney, summoned Higgins, at
  21 24 hours-notice, to see Carney, Andrew Bailey of the FCA, and Sam Woods of the
  22 Prudential Regulation Authority (“PRA”), another regulatory body that is part of the
  23 Bank of England and supervises financial institutions including banks and insurance
  24
     3
        The FCA’s subsequent reproduction of the letter uses pseudonyms – e.g., Board
  25 Member B. However, in an article dated March 4, 2023, the Financial Times
     identified Higgins and Hoyt as the individuals who spoke with the FCA executives
  26 and drafted Barclays’ letter.
  27    4
           The change in wording was from “‘are under investigation’” to “‘have been under
        investigation’” in the penultimate sentence.
  28
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    1 companies. The U.K. regulators called the meeting to ask Higgins to account for
    2 why the emails contradicted the October 8, 2019 letter that Barclays had sent to the
    3 FCA. The U.K. regulators urged the Barclays Board to review the email cache and
    4 confirm whether Staley had played down his ties to Epstein.
    5                       With U.K. regulators questioning whether Staley should continue to
    6 head Barclays, the Board focused its internal inquiry on: (i) whether there was
    7 evidence of impropriety; and (ii) whether Staley had been “sufficiently” transparent
    8 about the scope of the relationship when he joined the bank in 2015 and again in
    9 2019 following the FCA’s initial inquiry in August 2019. Barclays hired the law
  10 firm Clifford Chance to assist in reviewing the documents between January and
  11 February 2020. The law firm conducted interviews and provided a confidential
  12 report on their findings for the Board’s review. The report appended the most
  13 controversial emails between Staley and Epstein.
  14                        The email cache contained 1,200 emails exchanged between Staley and
  15 Epstein from Staley’s tenure at JPMorgan. The emails suggested that they also
  16 spoke regularly on the phone and met in person. From January 2013 to October
  17 2015, after Staley had left JPMorgan until his appointment as Barclays’ CEO, Staley
  18 and Epstein continued to exchange another nearly 600 emails.                        Their
  19 communications thus continued well after Epstein was Staley’s client at JPMorgan.
  20 The cache included emails in which Staley told Epstein that he was “‘my most
  21 cherished friend,’” that “‘I owe you much. And I deeply appreciate our friendship.
  22 I have few so profound,’” and that “‘I count u as a deep friend.’” The emails also
  23 made clear that Staley had visited Epstein’s island in the U.S. Virgin Islands that
  24 was a primary location for Epstein’s alleged sex trafficking. And the cache included
  25 suggestive emails, such as one exchange in July 2010 in which Staley wrote Epstein:
  26 “That was fun. Say hi to Snow White.” Epstein responded: “[W]hat character would
  27 you like next?” to which Staley replied: “Beauty and the Beast.” Epstein responded:
  28 “[W]ell one side is available.”
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    1            C.         Defendants Falsely Assured Investors of Staley’s
                            Transparency and Their Full Confidence in His Leadership
    2
                            On February 13, 2020, the Company filed with the SEC its issued a
    3
        press release titled “Director effectiveness assessment: disclosure of regulatory
    4
        investigation,” which was furnished to the SEC on a Form 6-K. Barclays’ statement
    5
        in the press release was also incorporated into Barclays’ 2019 Annual Report on
    6
        Form 20-F, issued the same day, announcing its results for the year ended December
    7
        31, 2019 (the “2019 Annual Report”)., and filed with the SEC on a Form 20-F.
    8
        Attached to the 2019 Annual Report were certifications pursuant to the Sarbanes-
    9
        Oxley Act of 2002 (“SOX”) signed by Defendants Staley and Morzaria attesting to
  10
        the accuracy of financial reporting, his evaluation of the effectiveness of the
  11
        Company’s disclosure control, the disclosure of any material changes to the
  12
        Company’s internal control over financial reporting, and the disclosure of all fraud.
  13
                            In both the February 13, 2020 press release and the 2019 Annual
  14
        Report, Barclays filed the same day, Defendants disclosed that the FCA was
  15
        conducting a regulatory investigation by the British Financial Conduct Authority
  16
        (the “FCA”) regarding Defendantinto Staley’s relationship with Jeffrey Epstein. It
  17
        stated, in pertinent part:
  18
                            In deciding whether to recommend Jes Staley for re-election, the Board
  19
        has carried out its usual formal and rigorous performance assessment, which it does
  20
        in respectlight of the effectiveness of each of the Directors. As part of its
  21
        determination in respect of Mr. Staley, the Board has had regard to media reports
  22
        published in the past 6prior six months that have highlighted historical links between
  23
        Mr. Staleylinking the two men. Both the director effectiveness assessment and
  24
        Jeffrey Epstein.the 2019 Annual Report were published by means of the LSE’s
  25
        Regulatory News Service (“RNS”) or their availability was announced by means of
  26
        the RNS. Defendants stated:
  27
  28
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    1                       As has been widely reported, earlier in his career Mr. Staley
    2            developed a professional relationship with Mr. Epstein.              In the
    3            summer of 2019, in light of the renewed media interest in the
    4            relationship, Mr. Staley volunteered and gave to certain executives,
    5            and the Chairman, an explanation of his relationship with Mr.
    6            Epstein. Mr. Staley also confirmed to the Board that he has had no
    7            contact whatsoever with Mr. Epstein at any time since taking up his
    8            role as Barclays Group CEO in December 2015.
    9            The relationship between Mr. Staley and Mr. Epstein was the subject
                 of an enquiry from the Financial Conduct Authority (FCA), to which
  10             the Company responded. The FCA and the Prudential Regulation
                 Authority subsequently commenced an investigation, which is ongoing,
  11             into Mr. Staley’s characterisation to the Company of his relationship
                 with Mr. Epstein and the subsequent description of that relationship in
  12             the Company’s response to the FCA.
  13                                              *     *      *
  14                        Based on a review, conducted with the support of external
  15             counsel, of the information available to us and representations made
  16             by Mr. Staley, the Board (the Executive Directors having been
  17             recused) believes that Mr. Staley has been sufficiently transparent
  18             with the Company as regards the nature and extent of his relationship
  19             with Mr. Epstein. Accordingly, Mr. Staley retains the full confidence
  20             of the Board, and is being unanimously recommended for re-election at
  21             the 2020 AGM.
  22             The Board will continue to cooperate fully with the regulatory
                 investigation, and will provide a further update as and when it is
  23             appropriate to do so.
  24             (Emphasis added).
  25                        This statement was materially false and misleading because, by the time
  26 the 2019 Annual Report was filed with the SEC, also affirmed to investors that
  27 Barclays had come into possession of emails between Epstein and Staley which
  28 showed that their relationship went well beyond “professional”.
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    1                       The 2019 Annual Report contained the following risk disclosure on
    2 employee misconduct:
    3            The Group’s businesses are exposed to risk from potential non-
                 compliance with its policies and instances of wilful and negligent
    4            misconduct by employees, all of which could result“cooperat[ed]” in
                 enforcement action or reputational harm. It is not always possible to
    5            deter employee misconduct, and the precautions we take to prevent and
                 detect this activity may not always be effective. Employee misconduct
    6            could have a material adverse effect on the Group’s customers, clients,
                 market integrity as well as reputation, financial condition and
    7            prospects.
    8            (Emphasis added).
    9                       This statement was materially false and misleading because, by the time
  10 it was issued, Barclays knew or should have known, based on its possession and
  11 review of certain of Defendant Staley’s email correspondence with Epstein, that
  12 Staley’s relationship with Epstein was much deeper than Barclays publicly
  13 represented, including to the Financial Conduct Authority.
  14                        The 2019 Annual Report contained the following disclosure on
  15 reputational risk:
  16                        Reputation risk is the risk that an action, transaction, investment, event,
  17 decision or business relationship will reduce trustthe various investigations in the
  18 Group’s integrity and/or competence.which it was involved, which then included the
  19 FCA’s inquiry into Staley’s relationship with Epstein:
  20             Any material lapse in standards of integrity, compliance, customer
                 service or operating efficiency may represent a potential reputation
  21             risk. Stakeholder expectations constantly evolve, and so reputation risk
                 is dynamic and varies between geographical regions, groups and
  22             individuals. A risk arising in one business area can have an adverse
                 effect upon the Group’s overall reputation and any one transaction,
  23             investment or event (in the perception of key stakeholders) can reduce
                 trust in the Group’s integrity and competence. The Group’s association
  24             with sensitive topics and sectors has been, and in some instances
                 continues to be, an area of concern for stakeholders, including (i) the
  25             financing of, and investments in, businesses which operate in sectors
                 that are sensitive because of their relative carbon intensity or local
  26             environmental impact; (ii) potential association with human rights
                 violations (including combating modern slavery) in the Group’s
  27             operations or supply chain and by clients and customers; and (iii) the
                 financing of businesses which manufacture and export military and riot
  28             control goods and services.
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    1            Reputation risk could also arise from negative public opinion about the
                 actual, or perceived, manner in which the Group conducts its business
    2            activities, or the Group’s financial performance, as well as actual or
                 perceived practices in banking and the financial services industry
    3            generally. Modern technologies, in particular online social media
                 channels and other broadcast tools that facilitate communication
    4            with large audiences in short time frames and with minimal costs,
                 may significantly enhance and accelerate the distribution and effect
    5            of damaging information and allegations. Negative public opinion
                 may adversely affect the Group’s ability to retain and attract customers,
    6            in particular, corporate and retail depositors, and to retain and motivate
                 staff, and could have a material adverse effect on the Group’s business,
    7            results of operations, financial condition and prospects.
    8            In addition to the above, reputation risk has the potential to arise from
                 operational issues or conduct matters which cause detriment to
    9            customers, clients, market integrity, effective competition or the Group
                 [. . .]
  10
                 (Emphasis added).
  11
                            This statement was materially false and misleading because Barclays
  12
        omitted any discussion of reputational risk relating to Defendant Staley’s friendship
  13
        with Epstein, who it knew or should have known had more than a professional
  14
        relationship with Defendant Staley.
  15
                            The statement was materially false and misleading insofar as it
  16
        discussed potential association with human rights violations (including modern
  17
        slavery), while failing to disclose Defendant Staley’s close association with Epstein,
  18
        who had engaged in, among other crimes, human trafficking. Epstein had also
  19
        subjected minors to sexual slavery.
  20
                            Finally, the statement was materially false and misleading insofar as it
  21
        discussed the risks of modern technology and the speed with which communications
  22
        can be broadcasted, which Barclays admitted might serve to enhance and accelerate
  23
        the effect of damaging information, while failing to disclose that it was at a
  24
        heightened risk of significant reputational risk due to how much media attention
  25
        Epstein had received due to the heinousness of his crimes as well as his associations
  26
        with the rich and powerful.
  27
  28
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    1                       The 2019 Annual Report contained the following disclosure about legal
    2 risk:
    3            The Group conducts activities in a highly regulated global market
                 which exposes it and its employees to legal risks arising from (i) the
    4            multitude of laws and regulations that apply to the businesses it
                 operates, which are highly dynamic, may vary between jurisdictions,
    5            and are often unclear in their application to particular circumstances
                 especially in new and emerging areas; and (ii) the diversified and
    6            evolving nature of the Group’s businesses and business practices. In
                 each case, this exposes the Group and its employees to the risk of loss
    7            or the imposition of penalties, damages or fines from the failure of
                 members of the Group to meet their respective legal obligations,
    8            including legal or contractual requirements. [. . .]
    9            A breach of applicable legislation and/or regulations by the Group or
                 its employees could result in criminal prosecution, regulatory
  10             censure, potentially significant fines and other sanctions in the
                 jurisdictions in which the Group operates. Where clients, customers
  11             or other third parties are harmed by the Group’s conduct, this may also
                 give rise to civil legal proceedings, including class actions. Other legal
  12             disputes may also arise between the Group and third parties relating to
                 matters such as breaches or enforcement of legal rights or obligations
  13             arising under contracts, statutes or common law. Adverse findings in
                 any such matters may result in the Group being liable to third parties or
  14             may result in the Group’s rights not being enforced as intended.
  15             (Emphasis added).
  16                        This statement was materially false and misleading because, by the time
  17 it was issued, Barclays had received emails between Defendant Staley and Epstein
  18 which it knew or should have known contradicted the response it had given to the
  19 FCA’s inquiry on the true nature of the relationship between Epstein and Defendant
  20 Staley. Accordingly, this presented legal risk to the Company.
  21                        On the same day the 2019 Annual Report was filed with the SEC,
  22             DefendantThe Group is also subject to enquiries and examinations,
  23             requests for information, audits, investigations and legal and other
  24             proceedings by regulators, governmental and other public bodies in
  25             connection with (but not limited to) consumer protection measures,
  26             compliance with legislation and regulation, wholesale trading activity
  27             and other areas of banking and business activities in which the Group
  28             is or has been engaged. The Group is cooperating with the relevant
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    1            authorities and keeping all relevant agencies briefed as appropriate
    2            in relation to these matters and others described in this note on an
    3            ongoing basis.
    4                       Also on February 13, 2020, Staley participated on an earnings
    5 conference call with analysts to discuss the year-end results for 2019. During the
    6 question-answer session, Staley made the following statement regarding his
    7 relationship with Epstein and the FCA’s inquiry:
    8            I think it’s very well-known at my time with JP Morgan, at the
    9            beginning of 2000, when I started to run the private bank, where he was
  10             an existing client, I’ve had a professional relationship with him for
  11             that period. As I left Morgan, the relationship began to taper off quite
  12             significantly.      And that stopped before I joined Barclays.     And
  13             obviously, there’s been no contact . . . whatsoever since then. The
  14             inquiry by the FCA is very narrowly focused on whether I’ve been
  15             transparent and open with the bank. And I feel very comfortable –
  16             going back to 2015, I have been transparent and open with the bank.
  17             [Per] the RNS [Regulatory News Service], the Board has done a
  18             review of that issue. And they have confirmed that they’re also
  19             comfortable that I was transparent and open with them with respect
  20             to that relationship and now the process will just go on at the FCA.
  21             But again, . . . I had no contact whatsoever . . . with Jeffrey Epstein,
  22             while I’ve been here with Barclays.
  23                        Also on February 13, 2020, Staley appeared on Bloomberg Television
  24 to discuss the Company’s annual results. This interview was posted on YouTube in
  25 a video titled “Barclays CEO Says He Was ‘Very Transparent’ About Jeffrey
  26 Epstein Relationship.” In response to the interviewer’s question about the FCA’s
  27 investigation into Staley’s relationship with Epstein, Staley made the following
  28 statement:
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    1                       In this interview, Defendant Staley acknowledgedSo first it’s
    2            well-known in the press that it was “well known” that he had I have
    3            had a long-standing professional or had a “longstandinglong-
    4            standing professional relationship with Jeffrey Epstein.” He also
    5            acknowledged that the relationship with Epstein had . It began in 2000,
    6            when StaleyI was tappedasked to lead J.P. Morgan Chase’srun JP
    7            Morgan’s private bank, of which Epstein and he was already a client.
    8            He then said the inquiry of the bank at that time. The investigation is
    9            actually focused on his transparency of whether I was transparent with
  10             and open with Barclays regarding his the bank and with the board with
  11             respect to my relationship with Jeffrey Epstein. He then said that he had
  12             been “very transparent” about the relationship, and that Barclays had
  13             concluded the same and indeed it’s clear in my own mind that going
  14             all the way back to 2015 when I joined Barclays, I have been very
  15             transparent with the bank and very open and willing to discuss the
  16             relationship that I had with him. And if you look at the RNS, I think
  17             what’s important to note is the Board has done its own review and
  18             they’ve looked back at my transparency and they concluded indeed
  19             that I have been transparent and open with the bank and with the
  20             board all along this process and in fact they have unanimously voted
  21             for me to be put up for reelection at the AGM meeting later this year so
  22             full support from the Chairman and from the board. But there is a
  23             regulatory process that is ongoing and we’ll let that run its course.
  24                        This statement was materially false and misleading because Defendant
  25 Staley had a much closer relationship with Jeffrey Epstein than he or Barclays had
  26 publicly admitted, which Barclays knew at the time of the interview.
  27                        Also on February 13, 2020, the Evening Standard published an article
  28 titled “Barclays boss Jes Staley fights for job over Epstein probe; Staley quizzed by
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    1 City watchdog about relationship with financier.” In it, the article stated that
    2 “Barclays investigated and found [Staley] had been honest in his account that it was
    3 a previous business relationship that ended in 2015 before he became chief
    4 executive. It then passed on the results of its probe to the regulator.” It reported that
    5 U.K. regulators “had been unsatisfied with the response” and “launched an inquiry
    6 into what Staley told the bank, and what the bank disclosed in its submission to
    7 them.” The article further stated that “Barclays revealed that ongoing inquiry
    8 alongside strong annual results which beat City forecasts and suggested Staley’s
    9 turnaround of the company was bearing fruit.”
  10                       The Evening Standard article further reported that when interviewed,
  11 Staley made the following statement:
  12            “I have been fully transparent and open. I worked with the guy
  13            professionally.”
  14                       Reporting on Defendants’ announcement, The Wall Street Journal
  15 published an article on February 13, 2020, headlined: “Barclays CEO Under
  16 Investigation Over Links to Jeffrey Epstein; U.K.’s second-biggest bank says CEO
  17 Jes Staley retains the confidence of its board.” It reported:
  18                       Barclays said . . . Mr. Epstein’s death renewed interest in Mr.
  19            Staley’s dealings with him, and that the CEO gave an explanation to
  20            executives, including chairman Nigel Higgins. Mr. Staley confirmed
  21            he had no contact with Mr. Epstein after becoming Barclays’s CEO,
  22            the bank said.
  23                       Market analysts who reported on the news were comforted by
  24 Defendants’ misrepresentations and voiced support for Staley in light of the solid
  25 financial performance he appeared to deliver for the Company:
  26                      RBC, February 13, 2020: “Reasonable financials overshadowed by
  27                       FCA probe. . . . A reasonable financial performance could be offset on
  28                       the day by the company announcing that the CEO is being investigated
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    1                       by the regulator in relation to his ties to Epstein.     Based on the
    2                       information available to it, the Board retains full confidence in Mr
    3                       Staley. . . . The CEO has assured the Board that he had not had any
    4                       contact since he joined BARC. Based on the information available, the
    5                       Board retains full confidence in Mr Staley.”
    6                      Investec, February 13, 2020: “Staley delivers . . . Disclosures
    7                       concerning an (ongoing) FCA investigation in CEO Jes Staley’s
    8                       relationship with Jeffrey Epstein offer an unwelcome distraction from
    9                       solid numbers.”
  10                       Shore Capital, February 13, 2020: “Barclays reported a better than
  11                        expected set of full year results to 31st December 2019 which were
  12                        unfortunately overshadowed by revelations that the FCA has been
  13                        investigating CEO Jes Staley due to historical links with Jeffrey
  14                        Epstein. While the Board has thrown its unanimous support behind Mr
  15                        Staley, this latest revelation, on top of the previous issue around
  16                        whistleblowing, could mean his days are numbered. This would be a
  17                        pity, in our view . . . .”
  18                       Berenberg, February 14, 2020: “News that UK regulators are
  19                        investigating links between Barclays’ CEO, Jes Staley, and a client of
  20                        his former employer creates clear uncertainty. While we are mindful
  21                        of risks to sentiment, we take comfort from three considerations. First,
  22                        the nature of the relationship appears consistent with Mr Staley’s past
  23                        role and ceased prior to his appointment at Barclays. Second, the
  24                        investigation is focused narrowly on whether the past relationship was
  25                        declared. Third, an investigation by Barclays’ board concluded that
  26                        processes were followed.”
  27                       Kepler Cheuvreux, February 14, 2020: “[T]he financial Conduct
  28                        Authority indicated that Barclays CEO Jes Staley was under
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    1                       investigation for ties with Jeffrey Epstein. Nevertheless, the board
    2                       added it maintained its full confidence in Staley.”
    3                       On April 3, 2020, Barclays issued on its website its Notice of Annual
    4 General Meeting for 2020, which included a signed letter from Higgins. The
    5 availability of the Notice of Annual General Meeting for 2020 was announced by
    6 Barclays via the RNS. In his letter, Higgins made the following statement regarding
    7 Barclays’ evaluation of Staley in light of the FCA investigation:
    8                       As part of our Director effectiveness assessment process, we also
    9            disclosed ongoing regulatory investigations by the Prudential
  10             Regulation Authority (the “PRA”) and Financial Conduct Authority in
  11             relation to the Group Chief Executive. . . . The Board’s governance
  12             processes were rigorously followed in relation to this matter, and I will
  13             simply repeat here what we said at the time: Jes retains the full
  14             confidence of the Board, and is being unanimously recommended for
  15             re-election.
  16                        On February 18, 2021, the CompanyBarclays issued its 2020 Annual
  17 Report, which was also filed with the SEC its Annual Report on a Form 20-F,
  18 announcing its results for the year ended December 31, 2020 (, and its availability
  19 was announced by Barclays via the “2020RNS. In it, the Company included a
  20 “Directors’ report” from the Nominations Committee, which stated:
  21             As part of its decision in respect of Mr Staley, the Board has had
  22             regard to the conclusions it reached last year, which conclusions
  23             remain unchanged, in relation to the investigations by the PRA and the
  24             FCA, details of which were disclosed in our 2019 Annual Report”).
  25             Attached to the and which remain ongoing.
  26                        In its 2020 Annual Report were certifications pursuant to SOX signed
  27 by Defendants Staley and Morzaria attesting, Barclays also reiterated its false and
  28
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    1 misleading statement that the Company was cooperating with relevant authorities,
    2 including the FCA, in their investigations, as alleged in ¶70, above.
    3                       Following the misrepresentations and omissions made on February 13,
    4 2020, April 3, 2020, and February 18, 2021, Barclays Securities traded at artificially
    5 inflated prices.
    6                       Each of the above statements in ¶¶69-72, 74-75, and 77-79 concerning
    7 Staley’s current and historical relationship with Epstein, Barclays’ decision to the
    8 accuracy of financial reporting, the disclosure of any material changes to the
    9 Company’sback Staley following its own internal control over financial
  10 reportinginvestigation, and the disclosure of all fraud.
  11                        The 2020 Annual Report contained the following risk disclosure on
  12 employee misconduct:
  13             The Group’s businesses are exposed to risk from potential non-
                 complianceBarclays’ cooperation with its policies and standards and
  14             instances of wilful and negligent misconduct by employees, all of
                 which could result in potential customer and client detriment,
  15             enforcement action (including regulatory fines and/or sanctions),
                 increased operation and compliance costs, redress or remediation or
  16             reputational damage which in turn could have a material adverse
                 effect on the Group’s business, results of operations, financial
  17             condition and prospects. Examples of employee misconduct which
                 could have a material adverse effect on the Group’s business include (i)
  18             employees improperly selling or marketing the Group’s products and
                 services; (ii) employees engaging in insider trading, market
  19             manipulation or unauthorised trading; or (iii) employees
                 misappropriating confidential or proprietary information belonging to
  20             the Group, its customers or third parties. These risks may be
                 exacerbated in circumstances where the Group is unable to rely on
  21             physical oversight and supervision of employees (such as during the
                 COVID-19 pandemic where employees have worked remotely)
  22
                 (Emphasis added)
  23
                            This statementthe FCA’s investigation was materially false and
  24
        misleading because, by the time it was issued, Barclays knew or should have known,
  25
        based on its possession and review of certain of Defendant Staley’s correspondence
  26
        with Epstein, that Staley’s relationship with Epstein was much deeper than Barclays
  27
        publicly represented, including to the FCA.
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    1                       The 2020 Annual Report contained a substantially similar risk
    2 disclosure regarding reputational risk to the 2019 Annual Report’s risk disclosure on
    3 reputational risk, as discussed in paragraph 31.
    4                       Similarly, the 2020 Annual Report’s risk disclosure on reputational risk
    5 was materially false and misleading for the same reasons as the equivalent disclosure
    6 from the 2019 Annual Report, as discussed in paragraphs 32, 33, and 34.
    7                       The 2020 Annual Report contained a substantially similar risk
    8 disclosure regarding regulatory and legal risk to the 2019 Annual Report’s risk
    9 disclosure on regulatory and legal risk, as discussed in paragraph 35.
  10                        Similarly, the 2020 Annual Report’s risk disclosure on legal risk was
  11 materially false and misleading for the same reasons as the equivalent disclosure
  12 from the 2019 Annual Report, as discussed in paragraph 36.
  13                        In response to the November 12, 2021 FT Article (defined below),
  14 Barclays pointed to an earlier statement that said, “the investigation makes no
  15 findings that Mr Staley saw, or was aware of, any of Mr Epstein’s alleged crimes”.
  16 (Emphasis added).
  17                        This statement was materially false and misleading because Barclays
  18 was aware or should have been aware of Defendant Staley’s close involvement with
  19 Epstein by that time, including Staley’s awareness of Epstein’s crimes and his
  20 possibly witnessing or participating in sex crimes.
  21                        On May 23, 2022, the Company filed with the SEC its amended Annual
  22 Report on Form 20-F/A for the year ended December 31, 2021 (the “2021 Annual
  23 Report”). Attached to the 2021 Annual Report were certifications pursuant to SOX
  24 signed by Defendants Venkatakrishnan and Cross attesting to the accuracy of
  25 financial reporting, the disclosure of any material changes to the Company’s internal
  26 control over financial reporting and the disclosure of all fraud.
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    1                       The 2021 Annual Report contained a substantially similar risk
    2 disclosure regarding employee misconduct to the 2020 Annual Report’s risk
    3 disclosure on potential employee misconduct, as discussed in paragraph 41.
    4                       Similarly, the 2021 Annual Report’s risk disclosure on employee
    5 misconduct was materially false and misleading for the same reasons as the
    6 equivalent disclosure from the 2020 Annual Report, as discussed in paragraph 42.
    7                       The 2021 Annual Report contained a substantially similar risk
    8 disclosure regarding reputational risk to the 2019 and 2020 Annual Report’s risk
    9 disclosure on reputational risk, as discussed in paragraphs 31 and 43.
  10                        Similarly, the 2021 Annual Report’s disclosure on reputational risk was
  11 materially false and misleading for the same reasons as the equivalent disclosures
  12 from the 2019 and 2020 Annual Reports, as discussed in paragraphs 32, 33, 34, and
  13 44.
  14                        The 2021 Annual Report contained a substantially similar risk
  15 disclosure regarding regulatory and legal risk to the 2019 and 2020 Annual Reports’
  16 risk disclosure on regulatory and legal risk, as discussed in paragraphs 35 and 45.
  17                        Similarly, the 2021 Annual Report’s risk disclosure on legal risk was
  18 materially false and misleading for the same reasons as the equivalent disclosure
  19 from the 2019 Annual Report, as discussed in paragraph 36.
  20                        On February 15, 2023, the Company filed with the SEC its Annual
  21 Report on Form 20-F for the year ended December 31, 2022 (the “2022 Annual
  22 Report”). Attached to the 2022 Annual Report were certifications pursuant to SOX
  23 signed by Defendants Venkatakrishnan and Cross attesting to the accuracy of
  24 financial reporting, the disclosure of any material changes to the Company’s internal
  25 control over financial reporting and the disclosure of all fraud.
  26                        The 2022 Annual Report contained a substantially similar risk
  27 disclosure regarding employee misconduct to the 2021 Annual Report’s risk
  28 disclosure on potential employee misconduct, as discussed in paragraph 50.
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    1                       Similarly, the 2021 Annual Report’s risk disclosure on employee
    2 misconduct was materially false and misleading for the same reasons as the
    3 equivalent disclosure from the 2020 Annual Report, as discussed in paragraph 51.
    4                       The 2022 Annual Report contained a substantially similar risk
    5 disclosure regarding reputational risk to the 2019, 2020, and 2021 Annual Reports’
    6 risk disclosure on reputational risk, as discussed in paragraphs 31, 43, and 52.
    7                       Similarly, the 2022 Annual Report’s disclosure on reputational risk was
    8 materially false and misleading for the same reasons as the equivalent disclosures
    9 from the 2019, 2020, and 2021 Annual Reports, as discussed in paragraphs 32-34,
  10 44, and 53.
  11                        The 2022 Annual Report contained a substantially similar risk
  12 disclosure regarding regulatory and legal risk to the 2019, 2020, and 2021 Annual
  13 Reports’ risk disclosure on regulatory and legal risk, as discussed in paragraphs 35,
  14 45, and 54.
  15                        Similarly, the 2022 Annual Report’s risk disclosure on legal risk was
  16 materially false and misleading for the same reasons as the equivalent disclosures
  17 from the 2019, 2020, and 2021 Annual Reports, as discussed in paragraphs 36, 46,
  18 and 55.
  19                        The statements contained in ¶¶ 24, 26-27, 29, 31, 35, 37-38, 40-41, 43,
  20 45, 47, 49, 50, 52, 54, 56-57, 59, 61 were materially false and/or misleading because
  21 they misrepresented when made as Defendants knew or deliberately disregarded and
  22 failed to disclose the following adverse facts pertaining to the Company’s business,
  23 operations, and prospects, which were known to Defendants or recklessly
  24 disregarded by them. Specifically, Defendants made false and/or misleading
  25 statements and/or failed to disclose that: (1) Contrary to his false public assertions,
  26 Jes Staley had a close relationship with Jeffrey Epstein; (2) Staley was reportedly
  27 aware of Jeffrey Epstein’s criminal activities and may have even sexually assaulted
  28 a victim who had previously been trafficked by Jeffrey Epstein; (3) Staley’s close,
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    1 personal relationship with Jeffrey Epstein, and potential criminal activity, if
    2 discovered, could bring reputational, legal, and financial harm to Barclays; (4) as a
    3 result, Barclays response to the FCA’s inquiry regarding Staley’s relationship with
    4 Epstein was materially false; (5) Barclays, having become aware of information
    5 contradicting its response to the FCA’s inquiry, then failed to update the response so
    6 that it would be accurate, or otherwise take any meaningful action; and (6) that as a
    7 result, Defendants’ statements about its business, operations, and prospects, were
    8 materially false and misleading and/or lacked a reasonable basis at all times.facts:
    9                               THE TRUTH BEGINS TO EMERGE
  10                        (a)   In direct contradiction to Defendants’ statements that maintained
  11 that Staley and Epstein’s relationship was only “professional,” the Company and its
  12 Board were in possession of unequivocal evidence that Staley, for years, had
  13 maintained an intimately close relationship with Epstein, in which they shared both
  14 professional and personal communications and experiences, such as exchanges
  15 regarding women, visits by Staley to Epstein’s various residences (including the
  16 island Epstein owned in the U.S. Virgin Islands where much of Epstein’s sex-
  17 trafficking activities had allegedly transpired), declarations of friendship, and advice
  18 on clients and confidential business dealings. This evidence included a cache of
  19 nearly 1,200 emails between Staley and Epstein, including:
  20                              (i)    On November 1, 2009, Staley sent Epstein the following
  21 email while visiting Epstein’s “Zorro Ranch” in New Mexico: “So when all hell
  22 breaks lose [sic], and the world is crumbling, I will come here, and be at peace.
  23 Presently, I’m in the hot tub with a glass of white wine. This is an amazing place.
  24 Truly amazing. Next time, we’re here together. I owe you much. And I deeply
  25 appreciate our friendship. I have few so profound.”
  26                              (ii)   On numerous occasions, Staley and Epstein referred to
  27 each other as “family.”
  28
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    1                             (iii)   On April 27, 2009, Staley referred to Epstein as “uncle
    2 Jeffery [sic]” in an email he forwarded to his daughter regarding Epstein’s effort to
    3 help Staley’s daughter get into graduate school.
    4                             (iv)    On December 5, 2009, Epstein wrote Staley: “[Y]ou were
    5 with larry, and i had to put up with . . . .” The email attached a redacted photograph,
    6 which the district court in the USVI Litigation described as “a picture of a young
    7 woman in a sexually suggestive pose.” Staley responded “Don’t tell me a french
    8 wine,” and Epstein responded “always thoughts of alcohol,” though Epstein was
    9 famously a teetotaler.
  10                              (v)     In what appears to be a confidential request by Jamie
  11 Dimon, CEO of JPMorgan, for Staley’s comments on a draft letter to JPMorgan
  12 shareholders, Staley nevertheless forwards the email to Epstein on March 28, 2010,
  13 and Epstein suggested revisions.
  14                              (vi)    Between July 9 and 10, 2010, Staley and Epstein
  15 exchanged emails in which Staley wrote: “That was fun. Say hi to Snow White.”
  16 Epstein responded: “[W]hat character would you like next” and Staley answered:
  17 “Beauty and the Beast . . . .” Epstein answers: “[W]ell one side is available.”
  18                              (vii) On April 12, 2015, just six months before he would be
  19 announced as the CEO of Barclays, Staley and his wife visited Epstein on his island
  20 in the U.S. Virgin Islands, after which Staley wrote to Epstein: “Thanks for the flight
  21 and thanks for the lunch. Your place is crazy, and special. It has a warmth and
  22 silliness that makes it yours. I count u as a deep friend.”
  23                              (viii) On August 23, 2012, Staley wrote Epstein: “I can’t tell
  24 you how much your friendship has meant to me. Thank you deeply for the last few
  25 weeks.” He signed off his message: “To my most cherished friend.”
  26                        (b)   The evidence in the Board’s possession seriously undermined the
  27 Board’s stated confidence in Staley’s leadership of the Company.
  28
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    1                       (c)   Based upon the evidence in Barclays’ possession, certain of the
    2 allegations concerning Epstein’s criminal activities may have been credible, and
    3 Staley’s personal relationship with Epstein, including the depth and scope of that
    4 relationship if discovered, could bring reputational, legal, and financial harm to
    5 Barclays.
    6                       (d)   The evidence in Barclays’ possession and Staley’s own
    7 knowledge regarding his relationship with Epstein undermined Barclays’ assertions
    8 that it was cooperating with its regulators’ investigations.
    9                       (e)   As the FCA later concluded, Staley, as Barclays’ CEO, “knew
  10 all the relevant facts regarding his relationship with Mr Epstein,” but concealed them
  11 because he was aware of the risk posed to his own reputation and career.
  12                        (f)   Contrary to Defendants’ press release and annual report, Staley
  13 had not “volunteered” an explanation of his relationship with Epstein, but, in fact,
  14 had responded to an inquiry from the FCA.
  15             D.         Staley Leaves Barclays upon the FCA’s Preliminary
                            Findings that Staley Lied About His Ties to Epstein
  16
                            As a result of Barclays and Staley’s repeated false assurances, Barclays
  17
        Securities on both the NYSE and the LSE continued to trade at artificially inflated
  18
        prices.
  19
                            On November 1, 2021, after market hours, Barclays filedissued a
  20
        current reportpress release that was furnished to the SEC on a Form 6-K with the
  21
        SEC, announcing Defendant, as well as published via the RNS. In the press release,
  22
        Barclays announced Staley’s departure from Barclays. It stated, in pertinent part:
  23
                            after Barclays and [Jes Staley], Group Chief Executive, “were made
  24
        aware on Friday evening. . . of the preliminary conclusions from the FCA and the
  25
        PRA of their investigation into Mr[.] Staley’s characterisationcharacterization to
  26
        Barclays of his relationship with the late Mr[.] Jeffrey Epstein and the subsequent
  27
        description of that relationship in Barclays’ response to the FCA. In view of those
  28
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    1 conclusions, and Mr[.] Staley’s intention to contest them, the Board and Mr[.] Staley
    2 have agreed that he will step down from his role as Group Chief Executive and as a
    3 director of Barclays. .” However, in continuing to voice its support for Staley,
    4 Barclays made the following statement:
    5            It should be noted that the investigation makes no findings that Mr[.]
    6            Staley saw, or was aware of, any of Mr[.] Epstein’s alleged crimes,
    7            which was the central question underpinning Barclays’ support for
    8            Mr[.] Staley following the arrest of Mr[.] Epstein in the summer of
    9            2019.
  10 The The press release further announced that “[w]ith effect from 1 November 2021,
  11 Mr C.S. Venkatakrishnan (known as Venkat) will take over as Group Chief
  12 Executive, subject to regulatory approval, and as a director of Barclays.”
  13                        Analysts reporting on Barclays’ announcement repeated the measured
  14 response to the FCA’s preliminary findings that Barclays had provided – namely,
  15 the assurance that Staley was not aware of Epstein’s alleged crimes:
  16                       Credit Suisse, November 1, 2021: “In an announcement . . . Barclays
  17                        communicated that Mr Jes Staley will step down as CEO following
  18                        preliminary conclusions from the FCA and the PRA’s investigation into
  19                        Mr Staley’s characterisation to Barclays of his relationship with the late
  20                        Mr Jeffrey Epstein, and his intention to contest the conclusions. The
  21                        announcement noted that the investigation made no findings that Mr
  22                        Staley saw, or was aware of, any of Mr Epstein’s alleged crimes, which
  23                        was the central question underpinning Barclays’ support for Mr Staley
  24                        following the arrest of Mr Epstein in the summer of 2019. The release
  25                        noted that the Board is disappointed at thisthe outcome. Mr[.] since Jes
  26                        Staley has run the Barclays Group successfully since December 2015
  27                        with real commitment and skill. Supported by the , built the senior
  28                        team which he largely helped build and on whom the Barclays Group
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    1                       will be relying for the future, Mr[.] Staley, clarified the Barclays
    2                       Group’s strategy, transformed itsthe operations and materially
    3                       improved its results. The regulatory process still has to run its full
    4                       course and it is not appropriate for Barclays to comment further on the
    5                       preliminary conclusions.the results.”
    6            (Emphasis added).
    7                       On this news, the price of Barclays ADRs fell by $0.25 per ADR, or
    8 2.23%, to close at $10.93 per ADR on November 2, 2021.
    9                      JPMorgan, November 1, 2021: “Following preliminary conclusions
  10                        from the FCA/PRA of their investigation into Mr Staley’s
  11                        characterisation to Barclays of his relationship with the late Jeffrey
  12                        Epstein and the subsequent description of that relationship in Barclays’
  13                        response to the FCA, the Board and Mr Staley have agreed that he will
  14                        step down from his role as Group Chief Executive and as a director of
  15                        Barclays. Note that the investigation makes no findings that Mr Staley
  16                        saw, or was aware of, any of Mr Epstein’s alleged crimes.”
  17                       UBS, November 1, 2021: “Barclays this morning announced that CEO
  18                        Jes Staley and the Board have agreed that he will step down from his
  19                        role as Group Chief Executive Officer . . . . This follows preliminary
  20                        conclusions shared on Friday on the FCA and PRA’s investigation into
  21                        Mr Staley’s characterisation of his relationship with the late Mr Jeffrey
  22                        Epstein and Mr Staley’s intention to contest such findings.         The
  23                        company release notes that the investigation has made no findings that
  24                        Mr Staley was aware of any of Mr Epstein’s alleged crimes, and
  25                        highlights Mr Staley’s success in running the group since December
  26                        2015, including a clear strategy, transformation of operations and
  27                        improvement of results.”
  28
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    1                       On November 12, 2021, before the domestic market closed, the
    2 Financial Times published an article entitledtitled “Jes Staley exchanged 1,200
    3 emails with Epstein that included unexplained phrases” (.” According to the
    4 “November 12, 2021 FT Article”). It stated, in pertinent part:
    5            Jes Staley exchanged 1,200 emails with Jeffrey Epstein over a four-year
                 period with content that included unexplained terms such as “snow
    6            white”, according to people familiar with the correspondence between
                 the former Barclays chief executive and the convicted sex offender.
    7
                                                *     *      *
    8
                            Centralarticle, “[c]entral to the probe ” being conducted by U.K.
    9
        regulators “was a cache of emails first provided to US regulators by JPMorgan [. .
  10
        .]JP Morgan.” The article stated that “people familiar with the correspondence”
  11
        between Staley and Epstein said it included unexplained terms such as “snow white.”
  12
        The article reported:
  13
                 Neither the extent of the email traffic between the twoThe “snow
  14             white” reference was written in a short, two-message exchange
                 referring to a conversation the men nor any of its content has been
  15             made public until now.
  16                                            *     *      *
  17             Staley’s ties to Epstein began in the early 2000s when Epstein, who
                 managed money for billionaires, was a client of JPMorgan’s private
  18             bank. They became sufficiently close that Staley visited Epstein while
                 he was serving a prison sentence in Florida in 2009 for procuring a child
  19             for prostitution and soliciting a prostitute.
  20             Staley has said their relationship began to “taper off” after he left the
                 US bank in 2013. However, just a few months before joining Barclays
  21             in 2015, Staley sailed his yacht to Epstein’s private Caribbean island.
                 [. . .]
  22
                 While aware of Staley’s connection to Epstein when he joined Barclays,
  23             the FCA and PRA opened a formal probe after receiving the email
                 cache from US regulators in 2019,had previously had in person, one
  24             of the people familiar with the matter told the FT.
  25             Barclays was first notified about the emails in early December 2019,
                 when chair Nigel Higgins was summoned to see Mark Carney, the then
  26             governor of the Bank of England, the people said.
  27               Regulators were concerned that the emails contradicted an earlier
  28             letter sent by the bank, which described the relationship as professional.
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    1            They urged the board to review the new information and check if the
    2            CEO had played down his links with the disgraced financierat the
    3            Financial Conduct Authority and Prudential Regulation Authority are
    4            yet to draw conclusions over the phrase, a second person said.
    5            The bank spent the next two months scrutinising the large amount of
                 documents with the assistance of law firm Clifford Chance. At one
    6            point Staley considered resigning but was persuaded to stay, two people
                 familiar with the decision said.
    7
                 Barclays resolved to stand by Staley, deeming him to have been truthful
    8            about the relationship and deciding that no conclusions could be drawn
                 about the unexplained language.
    9
                                               *     *     *
  10
                 Regulators focused on whether Staley was “full and frank” with them
  11             in his initial disclosures and subsequent interviews. Regulations require
                 a firm to engage with the FCA in an “open and co-operative way” and
  12             disclose anything of which regulators “would reasonably expect notice”
  13             (Emphasis added).
  14                        On this news, the price of Barclays ADRs went down by $0.05 per
  15 ADR, or 0.469%, to close at 10.62 on November 12, 2021.
  16 After hours on March Meanwhile, the article quoted Staley’s lawyer, Kathleen
  17 Harris, stating that “‘[w]e wish to make it expressly clear that our client had no
  18 involvement in any of the alleged crimes committed by Mr Epstein, and code words
  19 were never used by Mr Staley in any communications with Mr Epstein, ever.’” She
  20 also claimed the emails were “innocuous.” Notably, the newspaper did not quote or
  21 have access to the “snow white” email or the others in the 1,200 email cache.
  22                        As Staley’s attorneys sought to detach Staley from the criminal
  23 allegations against Epstein and denied the use of “code words,” Barclays likewise
  24 continued to put distance between Staley and Epstein. The November 12, 2021
  25 Financial Times article quoted a Barclays’ spokesperson reiterating Barclays’ initial
  26 response to the FCA’s preliminary findings:
  27             “[T]he investigation makes no findings that Mr Staley saw, or was
  28             aware of, any of Mr Epstein’s alleged crimes”.
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    1                       As reported by The Mail on Sunday on November 28, 2021, in the wake
    2 of Staley’s departure, Higgins privately called prominent Barclays investors to warn
    3 them about the “uncomfortable” tenor of the emails. According to one of the bank’s
    4 top 20 largest investors to whom Higgins spoke, “‘[Higgins] said once you read the
    5 final report you will have questions for us because it makes for uncomfortable
    6 reading.’”
    7                       Nevertheless, when Barclays issued its 2021 Annual Report on
    8 February 23, 2022, which was also filed with the SEC on Form 20-F, it included an
    9 introductory letter from Higgins in which he spoke of Staley in glowing terms,
  10 crediting the Company’s 2021 performance to Staley’s efforts:
  11                        This performance was in no small way a credit to Jes Staley, who
  12             left Barclays as Chief Executive towards the end of the year, and the
  13             team he assembled. It is obviously not appropriate for me to comment
  14             at the moment, further than has been done already, on the
  15             circumstances of Jes’s departure. It is important to let the regulatory
  16             and related processes take their course and, at the time of writing this
  17             letter, they have not completed. It is appropriate, however, to recognise
  18             that under the leadership of Jes, Barclays established a clear strategy,
  19             built up a secure capital base, improved its operational resilience and
  20             developed its business-leading franchises. We are therefore grateful for
  21             the hard work that he put in for the Company.
  22                        In its 2021 Annual Report, Barclays also reiterated its false and
  23 misleading statement that the Company was cooperating with relevant authorities,
  24 including the FCA, in their investigations, as alleged in ¶70, above.
  25                        Following the misrepresentations and omissions made on November 1,
  26 2021, November 12, 2021, and February 23, 2022, Barclays Securities traded at
  27 artificially inflated prices.
  28
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    1                       In addition to all of the reasons identified in ¶81, each of the above
    2 statements in ¶¶83 and 86-89 concerning Barclays’ characterization of the FCA’s
    3 preliminary conclusions, which focused on whether Staley was aware of Epstein’s
    4 alleged crimes, and Defendants’ cooperation in regulatory investigations, was
    5 materially misleading when made as Defendants knew or deliberately disregarded
    6 and failed to disclose the following facts:
    7                       (a)   Whether or not Staley witnessed Epstein’s crimes was not the
    8 sole issue under investigation by the FCA. Rather, as the FCA Decision stated, the
    9 FCA “wanted Barclays to explain how it was satisfied there was no impropriety with
  10 respect to the relationship between Mr Staley and Mr Epstein.” The FCA undertook
  11 this inquiry because the FCA “was seeking assurance that Barclays had discharged
  12 its regulatory obligations to ensure it understood and had properly managed the risks
  13 to which it was exposed.” In other words, the FCA’s inquiry was broader than
  14 whether Staley had witnessed Epstein’s alleged crimes.
  15                        (b)   Barclays’ October 8, 2023, relating to the litigation2019 letter to
  16 the FCA makes clear that Barclays understood that its response to the FCA was
  17 broader than simply Staley’s awareness of Epstein’s alleged crimes. The letter
  18 stated: “‘I am writing to close the loop on your request for assurance that we have
  19 informed ourselves and are comfortable in regard to any association of [Mr Staley]
  20 or Barclays with [Mr Epstein].’”
  21                        (c)   The FCA Decision noted that Barclays understood the FCA’s
  22 inquiry was broader than Staley’s awareness of Epstein’s alleged crimes because
  23 Higgins emailed an FCA executive asking whether a sentence regarding Staley’s
  24 “‘role in the activities of Mr Epstein that have been under investigation’” was
  25 necessary to include in the October 8, 2019 letter. Higgins wrote that he thought the
  26 FCA was “‘probably more worried about judgement than involvement in wrong-
  27 doing.’”
  28
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    1                       (d)   Despite the admitted broader scope of the FCA’s inquiry, and
    2 despite Barclays’ possession of the email cache evidencing Staley and Epstein’s
    3 close, personal relationship, Defendants misrepresented the nature of Staley and
    4 Epstein’s relationship to the FCA.
    5                       (e)   Higgins’ reference to the “circumstances of Jes’s departure”
    6 omits his knowledge that Barclays’ letter to the FCA contained misleading
    7 statements regarding Staley’s relationship with Epstein.
    8            E.         Private and Government Lawsuits Threaten to Expose Ugly
                            Facets of Staley’s Relationship with Epstein
    9
                            On November 24, 2022, plaintiff Jane Doe 1 filed a class action
  10
        captioned Jane Doe 1 v. JPMorganJP Morgan Chase Bank, N.A., & Co., No. 1:22-
  11
        vcv-10019-JSR (S.D.N.Y.), JPMorgan Chase Bank (“J.P. Morgan”)) (“Doe
  12
        Litigation”), on behalf of herself and other alleged victims of Epstein’s sex
  13
        trafficking, seeking damages from JPMorgan for facilitating and benefitting from
  14
        Epstein’s sex-trafficking activities.         The complaint alleged a “symbiotic”
  15
        relationship between Epstein and Staley and stated, for example:
  16
                 Epstein agreed to bring many ultra-high wealth clients to JP Morgan,
  17
                 and in exchange, Staley would use his clout within JP Morgan to make
  18
                 Epstein untouchable. This meant that JP Morgan would keep Epstein
  19
                 on as a client at all costs, including failing to act on any red flags and
  20
                 ultimately allowing him the ability to run and grow what to the bank
  21
                 was obviously an operation designed to sexually abuse and traffic
  22
                 countless young women.
  23
                            On December 27, 2022, the Attorney General for the United States
  24
        Virgin Islands filed a civil action against JPMorgan (the USVI Litigation), asserting
  25
        claims of trafficking against the bank for providing banking services to Epstein
  26
        connected with his alleged sexual trafficking of young women and girls. That
  27
        complaint alleged that “JP Morgan knowingly, negligently, and unlawfully provided
  28
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    1 and pulled the levers through which recruiters and victims were paid and was
    2 indispensable to the operation and concealment of the Epstein trafficking
    3 enterprise.” However, much of the initially filed complaint was redacted.
    4                       On February 15, 2023 in its 2022 Annual Report, which was also filed
    5 with the SEC on a Form 20-F, Barclays reiterated its false and misleading statement
    6 that the Company was cooperating with relevant authorities, including the FCA, in
    7 their investigations, as alleged in ¶70, above.
    8                       Also on February 15, 2023, in the USVI Litigation, portions of the
    9 complaint were unredacted, revealing for the first time excerpts of the messages sent
  10 between Epstein and Staley. These unredacted portions contained excerpts of
  11 several of the 1,200 emails between Staley and Epstein from 2008 to 2012, including
  12 a message from July 2010, sent from Staley to Epstein that said: “Maybe they’re
  13 tracking u? That was fun. Say hi to Snow White.” Epstein replied: “[W]hat
  14 character would you like next?” Staley answered, “Beauty and the Beast,” to which
  15 Epstein said, “well one side is available.” Another email from November 2009,
  16 excerpted in the unredacted complaint in the USVI Litigation, was sent from Staley
  17 to Epstein and stated:
  18             Presently, I’m in the hot tub with a glass of white wine. This is an
  19             amazing place. Truly amazing. Next time, we’re here together. I owe
  20             you much. And I deeply appreciate our friendship. I have few so
  21             profound.
  22 The unredacted complaint alleged that such emails demonstrated the “close personal
  23 relationship” between the men “and even suggest that Staley may have been
  24 involved in Epstein’s sex-trafficking operation.”
  25                        On March 4, 2023, the Financial Times published an article titled “Why
  26 the Jeffrey Epstein scandal continues to haunt JPMorgan and Barclays,” which
  27 described the renewed scrutiny that the Doe and USVI Litigations’ allegations put
  28 on the actions taken by Barclays and Higgins when responding to the FCA’s 2019
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    1 inquiry. It noted that “Barclays declined to comment” on why the “emails it had
    2 seen did not tally with a merely professional relationship, close or not.”
    3                       On March 8, 2023, in both the USVI Litigation and the Doe Litigation,
    4 JPMorgan filed a third-party complaint against Defendant Staley for indemnity,
    5 contribution, breach of fiduciary duty, and breach of the faithless servant doctrine in
    6 the event that it is found liableJPMorgan was found liable. The complaints alleged
    7 that Staley, when visiting Epstein’s residences, had observed the trafficking and
    8 abuse for which Epstein was accused.
    9                       In this matter, plaintiff Doe alleged that “Staley knew without any
  10 doubt that Epstein was trafficking and abusing girls.” Doe also alleged that Staley
  11 “personally observed Doe as a sex trafficking and abuse victims at times including
  12 through his departure from JP Morgan in 2013.”
  13                        Staley was also alleged to have “personally spent time with young girls
  14 whom he met through Epstein on several occasions”; “personally visited young girls
  15 at Epstein’s apartments located at 301 East 66th Street”; “personally observed
  16 Epstein around young girls”; and personally observed “Epstein sexually grab young
  17 women in front of him.”
  18                        Plaintiff Doe alleged that “one of Epstein’s friends used aggressive
  19 force in his sexual assault of her and informed Jane Doe 1 that he had Epstein’s
  20 permission to do what he wanted to her.” (Emphasis added). In her operative
  21 complaint, she did not identify who this person was by name. In the third-party
  22 complaint, JP Morgan stated “[u]pon information and belief, Staley is this person,
  23 who she described as a ‘powerful financial executive’ she had historically been
  24 afraid to identify.” (Emphasis added).
  25                        On this news, the price of Barclays ADRs went down by $0.29, or
  26 3.59%, to close at $7.77 on March 9, 2023. The price of Barclays ADRs then
  27 declined by an additional $0.24 per ADR, or 3.08%, to close at $7.53 on March 10,
  28 2023.
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    1                       On March 24, 2023, Barclays issued on its website its Notice of Annual
    2 General Meeting 2023, which included a Letter from the Group Chairman, signed
    3 by Higgins, and its availability was announced by Barclays via the RNS. Without
    4 mentioning Epstein, the letter noted the Board’s observations regarding the legal
    5 proceedings involving JPMorgan and Staley and described the “allegations [as]
    6 serious and new.” But Higgins’ letter failed to make a full disclosure of what
    7 Barclays learned in the course of conducting its internal investigation of Staley.
    8 Instead, without acknowledging that Barclays had the same emails that were recently
    9 disclosed in the Doe and USVI Litigations, Higgins continued to insist that Barclays
  10 had reached its conclusion based on “information it had at the time”:
  11                        The Board has noted the recent allegations made in the context
  12             of proceedings involving Mr Jes Staley’s former employer, and against
  13             Mr Staley himself, in relation to events a few years prior to his joining
  14             Barclays. These allegations are serious and new. Barclays itself has
  15             received no material new evidence from regulators or law enforcement
  16             agencies since Mr Staley left in November 2021. The Board’s original
  17             review, conducted in February 2020, was based on the information it
  18             had at the time and representations made by Mr Staley.
  19                        In June 2023, a settlement was reached in the Doe Litigation in which
  20 JPMorgan agreed to pay $290 million to resolve the claims of over 150 alleged sex-
  21 trafficking victims. In September 2023, weeks before a scheduled trial, JPMorgan
  22 agreed to pay $75 million to settle the claims brought by the U.S. Virgin Islands. An
  23 agreement was also reached to resolve JPMorgan’s claims against Staley, the terms
  24 of which are confidential.
  25                        Following the misrepresentations and omissions made on February 15,
  26 2023 and March 24, 2023, Barclays Securities traded at artificially inflated prices.
  27                        In addition to all of the reasons identified in ¶¶81 and 91, each of the
  28 above statements in ¶¶94 and 98 concerning Barclays’ original review at the FCA’s
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    1 request of Staley’s relationship with Epstein and Defendants’ cooperation in
    2 regulatory investigations were materially false and misleading when made as
    3 Defendants knew or deliberately disregarded and failed to disclose the following
    4 facts:
    5                       (a)   Barclays had examined the cache of 1,200 emails with the
    6 assistance of outside counsel when it had conducted its “original review” in January
    7 and February 2020, after which Defendants had falsely assured the FCA and
    8 investors of Staley’s purely “professional” relationship with Epstein and Staley’s
    9 transparency to the Board.
  10                        (b)   The information that Barclays “had at the time” (i.e., the 1,200
  11 email cache) unequivocally showed that Staley’s relationship with Epstein was
  12 closer and more personal than represented to the FCA, and that Defendants’
  13 description of that relationship to the FCA upon the FCA’s inquiry was misleading.
  14                        Accordingly, because Defendants either (i) reviewed the email cache
  15 between Staley and Epstein revealing the close, personal friendship between the men
  16 and conducted interviews with Staley, or (ii) in the case of Staley, actually
  17 communicated, socialized with, and visited Epstein, Defendants knew or recklessly
  18 disregarded that Defendants’ statements regarding Staley’s relationship with
  19 Epstein, Defendants’ transparency about that relationship, and the nature of the
  20 FCA’s investigation into that relationship were materially false and misleading.
  21 VIII. LOSS CAUSATION
  22                        As detailed herein, Defendants made materially false and misleading
  23 statements, and/or omitted material information, and/or delayed the disclosure of
  24 information concerning Staley’s relationship with Epstein and Barclays’ knowledge
  25 thereof.          Defendants’ misstatements and omissions were designed to and did
  26 artificially inflate, maintain, and manipulate the price of Barclays Securities and
  27 deceived Plaintiffs and the Class, causing purchasers of Barclays Securities to suffer
  28 economic harm as the truth reached the market. When the truth began to be revealed,
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    1 it caused the price of Barclays Securities to fall as the prior artificial inflation came
    2 out of the price of the securities.
    3                             On October 12, 2023, the Financial Conduct AuthorityFCA
    4 published an announcement on its website entitledtitled “FCA decides to fine and
    5 ban James Staley”..” It stated, in pertinent part:
    6                       The FCA has decided to fine former CEO of Barclays, James
    7            Staley, £1.8 million and ban him from holding a senior management or
    8            significant influence function in the financial services industry.
    9                       The FCA has found that Mr[.] Staley recklessly approved a letter
  10             sent by Barclays to the FCA, which contained two misleading
  11             statements, about the nature of his relationship with Jeffrey Epstein
  12             and the point of their last contact.
  13                        Therese Chambers, joint Executive Director of Enforcement and
  14             Market Oversight at the FCA said: ‘A CEO needs to exercise sound
  15             judgement and set an example to staff at their firm. Mr[.] Staley failed
  16             to do this. We consider that he misled both the FCA and the Barclays
  17             Board about the nature of his relationship with Mr[.] Epstein.
  18                        ‘Mr[.] Staley is an experienced industry professional and held a
  19             prominent position within financial services. It is right to prevent him
  20             from holding a senior position in the financial services industry if we
  21             cannot rely on him to act with integrity by disclosing uncomfortable
  22             truths about his close personal relationship with Mr[.] Epstein.’
  23                        In August 2019, the FCA asked Barclays to explain what it had
  24             done to satisfy itself that there was no impropriety in the relationship
  25             between Mr[.] Staley and Mr[.] Epstein. In its response, Barclays relied
  26             on information supplied by Mr[.] Staley. Mr[.] Staley confirmed the
  27             letter was fair and accurate.
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    1                       The letter claimed that Mr[.] Staley did not have a close
    2            relationship with Mr[.] Epstein. In reality, in emails between the two
    3            Mr[.] Staley described Mr[.] Epstein as one of his ‘deepest’ and ‘most
    4            cherished’ friends.
    5                       The letter from Barclays to the FCA also claimed Mr[.] Staley
    6            ceased contact with Mr[.] Epstein well before he joined Barclays.
    7            However, Mr[.] Staley was in fact in contact with Mr[.] Epstein in the
    8            days leading up to his appointment as CEO being announced on 28
    9            October 2015. Mr[.] Staley joined Barclays in December 2015.
  10                        While Mr[.] Staley did not draft the letter there was no excuse
  11             for his failure to correct the misleading statements when he was the only
  12             person at Barclays who knew the full extent of his personal relationship
  13             with Mr[.] Epstein and the specific timings of his contact with him. The
  14             FCA has found that Mr[.] Staley was aware of the risk that his
  15             association with Mr[.] Epstein posed to his career.
  16                        The FCA considers that, in failing to correct the misleading
  17             statements in the letter, Mr[.] Staley recklessly misled the FCA and
  18             acted with a lack of integrity.
  19             (Emphasis added).
  20                        The FCA Decision released the same day provided details explaining
  21 why Barclays’ October 8, 2019 letter to the FCA was misleading.
  22                        First, the FCA found “inaccurate and consequently, misleading” the
  23 statement that Staley “‘confirmed to us [Barclays] that he did not have a close
  24 relationship with Mr Epstein.’” To establish the statement’s inaccuracy, the FCA
  25 pointed to the “[e]mail communications from Mr Staley to Mr Epstein [that] refer to
  26 the strength of their friendship”; Staley’s visit to Epstein in Florida “during his
  27 prison sentence”; Staley’s visits to various of Epstein’s residences, including his
  28 ranch in New Mexico and his island in the U.S. Virgin Islands, which the FCA found
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    1 “were for no obvious business or professional purpose”; Epstein’s advice to Staley’s
    2 daughter on her graduate work, which Staley characterized as “‘the gift of great
    3 friendship’”; and Staley confiding with Epstein “on significant matters” relating to
    4 Staley’s career, including the “‘very confidential’” approval by Barclays’ Board of
    5 Staley’s appointment as CEO.
    6                       Second, although the letter said that Staley’s “‘last contact with Mr
    7 Epstein was well before he joined Barclays in 2015,’” the FCA pointed to emails
    8 between Staley and Epstein in October 2015 discussing his appointment as CEO, as
    9 well as Staley’s visit to Epstein’s island in the U.S. Virgin Islands in April 2015.
  10                        In reaching its conclusion to impose a penalty of £1.8 million on Staley
  11 and ban him from senior management positions in the financial sector, the FCA
  12 considered the fact that Staley had previously been subject to regulatory action by
  13 the FCA and the PRA. In 2018, the FCA and PRA had imposed a total financial
  14 penalty of £642,400 on Staley for his actions in response to a whistleblower letter
  15 relating to the hiring process for a senior employee at Barclays. The FCA found that
  16 while the prior regulatory action was unrelated to its Staley-Epstein investigation, it
  17 denied that the 2018 action had no relevance because “Staley’s reckless failure to
  18 correct the misleading statements in the [October 2019] Letter occurred only a year
  19 after” the prior sanction. “As a consequence of that regulatory action” in 2018, the
  20 FCA “would have expected Mr Staley to have been particularly careful to ensure
  21 that the Letter was factually accurate.”
  22                        Instead, Staley approved the October 8, 2019 letter, which contained
  23 statements the FCA considered to be “clearly misleading.”
  24                        As a result, the FCA determined that Staley had failed to comply with
  25 FCA rules governing the conduct of senior managers for firms like Barclays.
  26 Specifically, the rules violated were:
  27                       Individual Conduct Rule (“ICR”) 1: “You must act with integrity.”
  28
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    1                      ICR 3: “You must be open and cooperative with the FCA, the PRA and
    2                       other regulators.”
    3                      Senior Manager Conduct Rule 4: “You must disclose appropriately any
    4                       information of which the FCA or PRA would reasonable expect
    5                       notice.”
    6                       Also on October 12, 2023, Barclays issued a press release on the FCA
    7 Decision’s findings regarding Staley. In it, Barclays stated:
    8                       The [FCA Decision] finds that Mr Staley acted recklessly in
    9            approving a letter dated 8 October 2019 from Barclays to the FCA
  10             regarding his relationship with Jeffrey Epstein (which the RDC
  11             [Regulatory Decisions Committee] concluded was misleading) and, by
  12             doing so, that he breached Individual Conduct Rule 1 (acting with
  13             integrity), Individual Conduct Rule 3 (being open and cooperative with
  14             regulators) and Senior Management Conduct Rule 4 (disclosing
  15             appropriately information of which the FCA or PRA would reasonably
  16             expect notice).
  17                        The October 12, 2023 press release by Barclays also disclosed the
  18 decision by the Board’s Remuneration Committee: “Following consideration of the
  19 detailed findings in the [FCA Decision] and the information referred to in it,” the
  20 Committee concluded that Staley was “ineligible for or [would] forfeit a number of
  21 awards.” As identified in the press release, these awards were:
  22                       his bonus award in respect of the 2021 performance year.
  23                       his unvested LTIP awards that were still subject to performance
  24                        conditions, with a face value of £14.3m, and other unvested LTIP
  25                        awards for which the performance conditions had already been
  26                        assessed, with a face value of £1.4m.
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    1                      his other unvested deferred bonus awards from earlier years.
    2                       These awards had a face value of £2.1m, which was reduced to
    3                       zero through the application of ‘malus’.
    4 According to the press release, “[t]he total value of the lapsed LTIP awards and
    5 forfeited deferred compensation awards was £17.8m.”
    6                             On this news, Barclays’ the price of Barclays ADRs fell $0.39
    7 per ADR, or 4.98%99%, to close at $7.43 per ADR on October 12, 2023,
    8 economically damaging investors. Also on this news, the price of Barclays ordinary
    9 shares fell £4.90 per share, or 3.12%, to close at £152.28 per share on October 12,
  10 2023.
  11                        As a result of Defendants’ wrongful acts and omissions, and the
  12 precipitous decline in the market value of the Company’s common shares, Plaintiff
  13 and the other Class members have suffered significant losses and damages.
  14                        PLAINTIFF’SThe declines in the price of Barclays Securities after the
  15 corrective disclosures came to light were the direct result of the revelation of the
  16 nature and extent of Defendants’ fraud finally being revealed to investors and the
  17 market. The timing and magnitude of the price declines negate any inference that
  18 the losses suffered by Plaintiffs and other members of the Class were caused by
  19 changed market conditions, macroeconomic or industry factors, or Company-
  20 specific facts unrelated to Defendants’ fraudulent conduct. The economic loss, i.e.,
  21 damages suffered by Plaintiffs and the other Class members, was a direct result of
  22 Defendants’ misstatements, omissions, and delay in revealing the truth, and the
  23 subsequent significant decline in the value of Barclays Securities when Defendants’
  24 misrepresentations and other fraudulent conduct were revealed.
  25 IX.         NO SAFE HARBOR
  26                        The statutory safe harbor provided for forward-looking statements
  27 under certain circumstances does not apply to any of the false statements alleged.
  28 Certain of the statements herein were not identified as “forward-looking statements”
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    1 when made.                  To the extent there were any forward-looking statements, no
    2 meaningful cautionary statements identified important factors that could cause
    3 actual results to differ materially from those in the purportedly forward-looking
    4 statements, including because the circumstances about which such cautionary
    5 language warned had in fact already occurred.
    6                       To the extent that the statutory safe harbor does apply to any forward-
    7 looking statements pled herein, Defendants are liable for those false forward-looking
    8 statements because, at the time each of those forward-looking statements was made,
    9 the particular speaker knew or had actual knowledge that the particular forward-
  10 looking statement was false and/or the forward-looking statement was authorized
  11 and/or approved by an executive officer of Barclays who knew that the statement
  12 was false when made.
  13 X.          RELIANCE
  14             A.         Applicability of Presumption of Reliance for U.S. Securities
                            Laws Claims
  15
                            Plaintiffs and the other members of the Class will rely, in part, upon the
  16
        presumption of reliance established by the fraud-on-the-market presumption of
  17
        reliance in that, among other things:
  18
                            (a)     Defendants made public misrepresentations or failed to disclose
  19
        material facts during the Class Period;
  20
                            (b)     The omissions and misrepresentations were material;
  21
                            (c)     Barclays ADRs traded in an efficient market;
  22
                            (d)     The misrepresentations alleged would tend to induce a
  23
        reasonable investor to misjudge the value of Barclays ADRs; and
  24
                            (e)     Plaintiffs and the other members of the Class purchased Barclays
  25
        ADRs between the time Defendants misrepresented or failed to disclose material
  26
        facts and the time the true facts began to be disclosed, without knowledge of the
  27
        misrepresented or omitted facts.
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    1                       At all relevant times the market for Barclays ADRs was an efficient
    2 market for the following reasons, among others:
    3                       (a)   Barclays met the requirements for listing, and was listed and
    4 actively traded on the LSE, an efficient and automated market, in the form of
    5 ordinary shares;
    6                       (b)   Barclays ADRs met the requirement for listing, and were listed
    7 and actively traded on the NYSE, an efficient and automated market;
    8                       (c)   Barclays ADRs were sponsored by the Company and represented
    9 Barclays ordinary shares, which were listed and actively traded on the LSE, a highly
  10 efficient and automated market;
  11                        (d)   According to the Company’s 2023 Annual Report, there were
  12 nearly 15.2 billion Barclays ordinary shares and 185.3 million ADRs issued and
  13 outstanding, held by thousands of nominees, individuals, and institutional investors,
  14 representing a very broad and active trading market;
  15                        (e)   Barclays regularly communicated with investors via established
  16 market communication mechanisms, including the regular dissemination of press
  17 releases on national circuits of major newswire services, the Internet, and other wide-
  18 ranging public disclosures;
  19                        (f)   Barclays filed periodic public reports with the SEC and
  20 published such reports on the RNS;
  21                        (g)   Barclays was followed by securities analysts employed by major
  22 brokerage firms who wrote reports that were distributed to the sales force and certain
  23 customers of their respective brokerage firms. Each of these reports was publicly
  24 available and entered the public marketplace; and
  25                        (h)   Unexpected material news about Barclays was rapidly reflected
  26 in and incorporated into the prices of Barclays Securities during the Class Period.
  27                        Because Barclays is a publicly traded company, Defendants knew,
  28 understood, and had reason to expect that: (i) their misstatements would artificially
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    1 inflate the price of Barclays Securities; (ii) investors would rely on the prices of
    2 Barclays Securities as reflecting accurate information known to Barclays and its
    3 principals; and (iii) their misstatements and omissions would induce Plaintiffs
    4 and/or their agents and other Class members to purchase Barclays ADRs during the
    5 Class Period.
    6                       As a result of the foregoing, the market for Barclays ADRs promptly
    7 digested current information regarding the Company from all publicly available
    8 sources and reflected such information in the price of Barclays ADRs. Under these
    9 circumstances, all purchasers of Barclays ADRs during the Class Period suffered
  10 similar injury through their purchase of Barclays ADRs at artificially inflated prices,
  11 and a presumption of reliance applies.
  12                        Plaintiffs are also entitled to a presumption of reliance under Affiliated
  13 Ute Citizens v. United States, 406 U.S. 128 (1972), because the claims asserted
  14 herein are predicated in part upon omissions of material fact for which there was a
  15 duty to disclose. Specifically, Plaintiffs are entitled to a presumption of reliance
  16 throughout the Class Period because, as more fully alleged above, Defendants failed
  17 to disclose material information regarding Staley’s close personal relationship with
  18 Epstein, Barclays’ internal investigation thereof, and Defendants’ lack of
  19 transparency with the FCA.
  20             B.         Reliance for U.K. Securities Laws Claims
  21                        Under English law, Plaintiffs and the Class are entitled to rely on a
  22 presumption that they relied on an actionable misrepresentation by which it was
  23 intended they should be deceived.
  24                        Plaintiffs reasonably made a decision, including an automated decision
  25 to acquire, continue to hold, or dispose of Barclays ordinary shares at the inflated
  26 price at which they were in fact acquired and held.
  27                        Alternatively, Plaintiffs reasonably made a decision, including an
  28 automated decision, to acquire, continue to hold, or dispose of Barclays ordinary
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    1 shares at the inflated price at which they were in fact acquired and held and were
    2 also aware of (i) the price of the shares and (ii) the published information being true,
    3 complete, and accurate.
    4                       But for Defendants’ misrepresentations and omissions, Plaintiffs, and
    5 members of the Class, would not have acquired Barclays ordinary shares at the price
    6 of acquisition.
    7 XI.        PLAINTIFFS’ CLASS ACTION ALLEGATIONS
    8                             Plaintiff bringsPlaintiffs bring this action as a class action
    9 pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3) on behalf of a class
  10 consisting of: (i) all persons other than defendantsor entities who purchased or
  11 otherwise acquired Barclays securities publicly tradedADRs on the NYSE or OTC
  12 marketsin the United States during the Class Period,; and (ii) all persons or entities
  13 who purchased or otherwise acquired on the LSE or continued to hold Barclays
  14 ordinary shares during the Class Period; and who were damaged thereby
  15 (collectively, the “Class”). Excluded from the Class are Defendants, the officers and
  16 directors of the Company, members of the Individual Defendants’ immediate
  17 families and their legal representatives, heirs, successors, or assigns, and any entity
  18 in which Defendants have or had a controlling interest.
  19                              The members of the Class are so numerous that joinder of all
  20 members is impracticable. Throughout the Class Period, the Company’s securities
  21 were actively traded on the NYSE and OTCLSE markets. While the exact number
  22 of Class members is unknown to Plaintiff at this time Upon information and can be
  23 ascertained only through appropriate discovery, Plaintiff believes that therebelief,
  24 these shares are hundreds, if notheld by thousands of members in the proposed
  25 Classgeographically dispersed individuals and entities.
  26                        Plaintiff’s claims are typical of the claims of the members of the Class
  27 as all members of the Class are similarly affected by Defendants’ wrongful conduct
  28 in violation of federal law that is complained of herein.
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    1                       Plaintiff will fairly and adequately protect the interests of the members
    2 of the Class and has retained counsel competent and experienced in class and
    3 securities litigation. Plaintiff has no interests antagonistic to or in conflict with those
    4 of the Class.
    5                             Common questions of law and fact exist as to all members of the
    6 Class and predominate over any questions solely affecting individual members of
    7 the Class. Among the questions of law and fact common to the Class are: These
    8 common questions of law and fact include: (i) whether Defendants violated the
    9 Exchange Act; (ii) whether Defendants violated U.K. statutory law; (iii) whether
  10 Defendants omitted and/or misrepresented material facts, and/or delayed the
  11 publication of information; (iv) whether Defendants knew or recklessly disregarded
  12 that their statements were false; (v) whether the prices of Barclays Securities were
  13 artificially inflated during the Class Period; and (vi) the extent of and appropriate
  14 measure of damages.
  15                             whether the Exchange Act was violated by Defendants’
  16             acts as alleged herein;
  17                             whether statements made by Defendants to the investing
  18             public during the Class Period misrepresented material facts about the
  19             business and financial condition of the Company;
  20                             whether Defendants’ public statements to the investing
  21             public during the Class Period omitted material facts necessary to make
  22             the statements made, in light of the circumstances under which they
  23             were made, not misleading;
  24                             whether the Defendants caused the Company to issue false
  25             and misleading filings during the Class Period;
  26                             whether Defendants acted knowingly or recklessly in
  27             issuing false filings;
  28
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    1                            whether the prices of the Company’s securities during the
    2            Class Period were artificially inflated because of the Defendants’
    3            conduct complained of herein; and
    4                            whether the members of the Class have sustained damages
    5            and, if so, what is the proper measure of damages.
    6                       Plaintiffs’ claims are typical of those of the Class as all members of the
    7 Class are similarly affected by Defendants’ wrongful conduct in violation of
    8 securities laws in the United States and the United Kingdom that is complained of
    9 herein. Prosecutions of individual actions would create a risk of inconsistent
  10 adjudications.
  11                        Plaintiffs will fairly and adequately protect the interests of the members
  12 of the Class and have retained counsel competent and experienced in class and
  13 securities litigation. Plaintiffs have no interests antagonistic to or in conflict with
  14 those of the Class.
  15                              A class action is superior to all other available methods for the
  16 fair and efficient adjudication of this controversy since joinder of all members is
  17 impracticable. Furthermore, as the damages suffered by individual Class members
  18 may be relatively small, the expense and burden of individual litigation make it
  19 impossible for members of the Class to individually redress the wrongs done to them.
  20 There will be no difficulty in the management of this action as a class action.
  21                        Plaintiff will rely, in part, upon the presumption of reliance established
  22 by the fraud-on-the-market doctrine in that:
  23                             the Company’s securities met the requirements for listing,
  24             and were listed and actively traded on the NYSE and OTC markets,
  25             both efficient markets;
  26                             as a public issuer, the Company filed public reports;
  27                             the Company communicated with public investors via
  28             established market communication mechanisms, including through the
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    1            regular dissemination of press releases via major newswire services and
    2            through other wide-ranging public disclosures, such as communications
    3            with the financial press and other similar reporting services;
    4                            the Company’s securities were liquid and traded with
    5            moderate to heavy volume during the Class Period; and
    6                            the Company was followed by a number of securities
    7            analysts employed by major brokerage firms who wrote reports that
    8            were widely distributed and publicly available.
    9                       Based on the foregoing, the market for the Company’s securities
  10 promptly digested current information regarding the Company from all publicly
  11 available sources and reflected such information in the prices of the common units,
  12 and Plaintiff and the members of the Class are entitled to a presumption of reliance
  13 upon the integrity of the market.
  14                        Alternatively, Plaintiff and the members of the Class are entitled to the
  15 presumption of reliance established by the Supreme Court in Affiliated Ute Citizens
  16 of the State of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted
  17 material information in their Class Period statements in violation of a duty to
  18 disclose such information as detailed above.
  19                                                COUNT I
  20       For Violations of Section §10(b) and Rule 10b-5 Promulgated Thereunder
                                     Against All Defendants
  21
                                  Plaintiff repeatsPlaintiffs repeat and reallegesreallege each and
  22
        every allegation contained above as if fully set forth herein.
  23
                            This Count assertedis brought by the Teamsters Funds on behalf of
  24
        themselves and the Class.
  25
                                  This Count is brought against all Defendants is based upon
  26
        Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
  27
        thereunder by the SEC.
  28
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    1                              During the Class Period, each of the Defendants, individually
    2 and named in concert, directly or indirectly,this Count disseminated or approved the
    3 false statements as specified above in ¶¶53, 69-72, 74-75, 77-79, 83, 86-89, 94, and
    4 98, which they knew or deliberatelyrecklessly disregarded were misleading in that
    5 they contained material misrepresentations and/or failed to disclose material facts
    6 necessary in order to make the statements made, in light of the circumstances under
    7 which they were made, not misleading.
    8                              Defendants named in this Count violated §10(b) of the
    9 1934Exchange Act and Rule 10b-5 in that they:
  10                        (a)   employed devices, schemes, and artifices to defraud;
  11                        (b) made untrue statements of material facts or omitted to state
  12 material facts necessary in order to make the statements made, in light of the
  13 circumstances under which they were made, not misleading; or
  14                        (c)   engaged in acts, practices, and a course of business that operated
  15 as a fraud or deceit upon plaintiffPlaintiffs and others similarly situated in
  16 connection with their purchases of the Company’s securitiesBarclays ADRs during
  17 the Class Period.
  18                        Defendants acted with scienter in that they knew that the public
  19 documents and statements issued or disseminated in the name of the Company were
  20 materially false and misleading; knew that such statements or documents would be
  21 issued or disseminated to the investing public; and knowingly and substantially
  22 participated, or acquiesced in the issuance or dissemination of such statements or
  23 documents as primary violations of the securities laws. These defendants by virtue
  24 of their receipt of information reflecting the true facts of the Company, their control
  25 over, and/or receipt and/or modification of the Company’s allegedly materially
  26 misleading statements, and/or their associations with the Company which made
  27 them privy to confidential proprietary information concerning the Company,
  28 participated in the fraudulent scheme alleged herein.
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    1                       Defendants, individually and together, directly and indirectly, by the
    2 use, means of instrumentalities of interstate commerce, and/or the mails, engaged
    3 and participated in a continuous course of conduct to conceal the truth and/or adverse
    4 material information about Barclays’ business and operations as specified herein.
    5                       By virtue of their positions at Barclays, the Individual Defendants, who
    6 are or were senior executives and/or directors of the Companywhose knowledge
    7 and/or recklessness is imputed to Barclays, had actual knowledge of the materially
    8 false and misleading statements and material omissions and/or the falsity of the
    9 material statements set forth above, alleged herein and intended thereby to deceive
  10 PlaintiffPlaintiffs and the other members of the Class,; or, in the alternative, acted
  11 with reckless disregard for the truth whenin that they failed or refused to ascertain
  12 and disclose the true facts in the statements made by them or other Company’s
  13 personnel to members of the investing public, including Plaintiff and the Class.
  14                        As a result of the foregoing, the market price of the Company’s
  15 securities was artificially inflated during the Class Period. In ignorance of the falsity
  16 of Defendants’ statements, Plaintiff and the other members of the Class relied on the
  17 statements described above and/or the integrity of the market price of the Company’s
  18 securities during the Class Period in purchasing the Company’s securities at prices
  19 that were artificially inflated such facts as a result of Defendants’ would reveal the
  20 materially false and misleading statements.
  21                              Had Plaintiff and the other members of the Class been aware that
  22 the market price of the Company’s securities had been artificially and falsely inflated
  23 by Defendants’ misleading statements and by the material adverse information
  24 which nature of the statements made, although such facts were readily available to
  25 them. Said acts and omissions were committed willfully or with reckless disregard
  26 for the truth. In addition, each of the Defendants did not disclose, they would not
  27 have purchased the Company’s securities at the artificially inflated prices that they
  28
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    1 did, or at allknew or recklessly disregarded that material facts were being
    2 misrepresented or omitted as described above.
    3                       As a result of the wrongful conduct alleged herein, Plaintiff and other
    4 members of the Class have suffered damages in an amount to be established at trial.
    5                       By reason of the foregoing, Information showing that Defendants acted
    6 knowingly or with reckless disregard for the truth is peculiarly within Defendants’
    7 knowledge and control. As the officers and/or directors of Barclays, the Individual
    8 Defendants had knowledge of the details of Barclays’ internal affairs.
    9                       Because of their positions of control and authority, the Individual
  10 Defendants were able to and did, directly or indirectly, control the content of the
  11 statements of Barclays. As officers and/or directors of a publicly held company, the
  12 Individual Defendants had a duty to disseminate timely, accurate, and truthful
  13 information with respect to Barclays’ businesses and operations.
  14                        During the Class Period, Barclays ADRs were traded on an active and
  15 efficient market.            As a result of the dissemination of the materially false or
  16 misleading information and/or failure to disclose material facts, as set forth above,
  17 the market price of Barclays ADRs was artificially inflated during the Class Period.
  18 At the time of the purchases and/or acquisitions by the Teamsters Funds and the
  19 Class, the true value of Barclays ADRs was substantially lower than the prices paid
  20 by the Teamsters Funds and the other members of the Class. Had the Teamsters
  21 Funds and the other members of the Class known the truth, they would not have
  22 purchased or otherwise acquired said securities, or would not have purchased or
  23 otherwise acquired them at the inflated prices that were paid. The market price of
  24 Barclays ADRs declined sharply upon public disclosure of the facts alleged herein
  25 to the injury of the Teamsters Funds and Class members. In ignorance of the falsity
  26 of Barclays’ statements, the Teamsters Funds and the other members of the Class
  27 purchased or otherwise acquired Barclays ADRs at artificially inflated prices and
  28
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    1 relied upon the price of the securities, the integrity of the market for the securities,
    2 and/or upon statements disseminated by Defendants, and were damaged thereby.
    3                       By reason of the conduct alleged herein, Defendants knowingly or
    4 recklessly, directly or indirectly, have violated Section §10(b) of the 1934Exchange
    5 Act and Rule 10b-5 promulgated thereunder.
    6                            As a direct and are liable toproximate result of these Defendants’
    7 wrongful conduct, the plaintiffTeamsters Funds and the other Class members of the
    8 Class for substantial damages which they suffered damages in connection with their
    9 purchase of the Company’s securities during the Class Period transactions in
  10 Barclays ADRs.
  11                                              COUNT II
  12                        For Violations of Section §20(a) of the Exchange Act
                                   Against the IndividualAll Defendants
  13
                                 Plaintiff repeatsPlaintiffs repeat and reallegesreallege each and
  14
        every allegation contained in the foregoing paragraphs as if fully set forth herein.
  15
                                 During the Class Period, the Individual Defendants, during the
  16
        time they held their positions at Barclays, participated in the operation and
  17
        management of the CompanyBarclays, and conducted and participated, directly and
  18
        indirectly, in the conduct of the Company’sBarclays’ business affairs. Because of
  19
        their senior positions, they knew the adverse non-public information about the
  20
        Company’s            misstatement   of   revenue      and   profit   and   false   financial
  21
        statementsBarclays’ business as alleged herein.
  22
                                 As officers and/or directors of a public business, the
  23
        Individualpublicly owned company, Defendants had a duty to disseminate accurate
  24
        and truthful information with respect to the Company’s financial condition and
  25
        results ofBarclays’ operations, and to correct promptly any public statements
  26
        Barclays issued by the Company which that had become materially false or
  27
        misleading.
  28
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    1                       Barclays had the power to control and influence the other Defendants,
    2 and other Company executives through its power to hire, fire, supervise, and
    3 otherwise control the actions of its employees and their salaries, bonuses, incentive
    4 compensation, and other employment considerations. By virtue of the foregoing,
    5 Barclays had the power to influence and control, and did influence and control,
    6 directly or indirectly, the decision-making of Defendants, including the content of
    7 their public statements.
    8                             Because of their positions of control and authority as senior
    9 executives and/or directors, the Individualofficers, Defendants were able to, and did,
  10 control the contents of the various reports, press releases, and public filings which
  11 the Companythat Barclays disseminated in the marketplace during the Class Period
  12 concerning the Company’s results ofBarclays’ business and operations. Throughout
  13 the Class Period, the Individual Defendants exercised their power and authority to
  14 cause the CompanyBarclays to engage in the wrongful acts complained of herein.
  15 The Individual Defendants, therefore, were “controlling persons” of the
  16 CompanyBarclays within the meaning of Section §20(a) of the Exchange Act. In
  17 this capacity, they participated in the unlawful conduct alleged whichthat artificially
  18 inflated the market price of Company securitiesBarclays ADRs.
  19                        Each of the Defendants, therefore, acted as a controlling person of
  20 Barclays. By reason of holding positions as officers and/or directors of Barclays,
  21 each of the Defendants had the power to direct the actions of, and exercised the same
  22 to cause, Barclays to engage in the unlawful acts and conduct complained of herein.
  23 Each of the Defendants exercised control over the general operations of Barclays
  24 and possessed the power to control the specific activities which comprise the primary
  25 violations about which the Teamsters Funds and the other members of the Class
  26 complain.
  27
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    1                       By reason of the above conduct, the Individual Defendants are liable
    2 pursuant to Section §20(a) of the Exchange Act for the violations committed by
    3 Barclays.
    4                                              COUNT III
    5                                For Violations of Section 90A
                  of the Financial Services and Markets Act of the United Kingdom
    6                                      Against Barclays
    7                       Plaintiffs repeat and reallege each and every allegation contained in the
    8 foregoing paragraphs as if fully set forth herein.
    9                       This Count is brought pursuant to Section 90A of the FSMA, as
  10 amended by the CompanyCompanies Act of 2006 and the FSMA 2000 (Liability of
  11 Issuers) Regulations 2010 (2010/1192), and Schedule 10A of the FSMA against
  12 Barclays seeking damages in relation to St. Louis Firemen’s and the Class’s
  13 acquisition and/or retention and/or disposal of Barclays ordinary shares during the
  14 Class Period.
  15                        Barclays, as an issuer of securities to which Schedule 10A applies,
  16 made a misleading statement or dishonest omission and/or dishonestly delayed the
  17 publication of information (within the meaning of paragraph 5 of Schedule 10A),
  18 including in reports and statements published in response to provisions
  19 implementing Articles 4, 5, and 6 of Directive 2004/109/EC of the Transparency
  20 Obligations Directive of December 31, 2004, in its preliminary statements pertaining
  21 thereto, and as further set out herein.
  22                        Certain of the untrue or misleading published information, or the
  23 published information omitting a matter required to be included in it, was published
  24 by “recognised means” under the meaning of Schedule 10A, as it was either
  25 published via the LSE’s RNS, or the availability of the information had been
  26 announced by Barclays via the RNS.
  27                        One or more of the Individual Defendants, in discharging their
  28 managerial responsibilities on behalf of Barclays, with respect to an untrue and
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    1 misleading statement, knew the statement to be untrue or misleading or was reckless
    2 as to whether it was untrue or misleading.
    3                       One or more of the Individual Defendants, in discharging their
    4 managerial responsibilities on behalf of Barclays, with respect to the omission of a
    5 matter required to be included in published information, knew the omission to be a
    6 dishonest concealment of a material fact.
    7                       One or more of the Individual Defendants, in discharging their
    8 managerial responsibilities on behalf of Barclays, acted dishonestly in delaying the
    9 publication of information regarding Staley’s close relationship with Epstein and
  10 Barclays’ knowledge thereof.
  11                        This omission of a matter required to be included in published
  12 information or delay in publishing information was regarded as dishonest by people
  13 who regularly trade on the securities market in question. Furthermore, such conduct
  14 was regarded as dishonest by the FCA.
  15                        One or more of the Individual Defendants, as alleged herein, was aware
  16 (or must be taken to have been aware) that such a delay was regarded as dishonest.
  17                        St. Louis Firemen and the Class made a decision to acquire shares in
  18 the market at the inflated price at which they were in fact acquired. Had St. Louis
  19 Firemen and the other members of the Class known the truth, they would not have
  20 purchased or otherwise acquired said securities, or would not have purchased or
  21 otherwise acquired them at the inflated prices that were paid.
  22                        St. Louis Firemen and the Class have suffered losses with regard to
  23 their purchase and retention of Barclays ordinary shares as a result of the dishonest
  24 delay in publishing truthful information regarding Staley and Barclays’ knowledge
  25 thereof.
  26                              By reason of the foregoing, Barclays is liable to St. Louis
  27 Firemen and the Class for compensation as provided by Section 90A of the FSMA
  28 2000, as amended.
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    1                                     PRAYER FOR RELIEF
    2            WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for
    3 Plaintiffs demand judgment and reliefagainst Defendants as follows:
    4            (a)A. declaringDetermining that this action to beis a proper class action,
    5 designating Plaintiff as Lead Plaintiff and certifying Plaintiff as a class
    6 representativePlaintiffs as Class Representatives under Rule 23 of the Federal Rules
    7 of Civil Procedure and designating Plaintiff’s counsel as Lead appointing Robbins
    8 Geller Rudman & Dowd LLP as Class Counsel;
    9            (b)B. awardingAwarding         compensatory     damages     in   favor    of
  10 PlaintiffPlaintiffs and the other Class members of the Class against all Defendants,
  11 jointly and severally, together with for all damages sustained as a result of
  12 Defendants’ wrongdoing, in an amount to be proven at trial, including interest
  13 thereon;
  14                        (c)   awarding PlaintiffAwarding Plaintiffs and the Class their
  15 reasonable costs and expenses incurred in this action, including counselreasonable
  16 attorneys’ fees and expert, experts’ fees; and
  17             C.         awarding Plaintiff, and other members of the Classcosts and
  18 disbursements; and
  19             (d)D. Awarding such other and further relief as the Court may deem just and
  20 proper.
  21                               JURY TRIAL DEMANDEDDEMAND
  22             PlaintiffPlaintiffs hereby demandsdemand a trial by jury.
  23     Dated: November 1, 2023DATED:              THE ROSEN LAW FIRM,
         August 12, 2024                            P.A.ROBBINS GELLER RUDMAN
  24                                                 & DOWD LLP
                                                    MICHAEL A. TRONCOSO
  25                                                DANIELLE S. MYERS
                                                    ASHLEY M. PRICE
  26
  27                                                    /s/ LaurenceAshley M. RosenPrice
  28                                                           ASHLEY M. PRICE
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